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                                                                          Execution Version




                                $12,441,650 PROJECT LOAN

                               PROJECT LOAN AGREEMENT

                                  Dated as of August 25, 2014

                                           Between

            135 West 52nd Street Owner LLC, a Delaware limited liability company
                                       as Borrower,

                              Deutsche Bank AG New York Branch,
                                         as Agent, and

German American Capital Corporation, AND THE OTHER LENDERS SIGNATORY HERETO,
                                  collectively, as Lender




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                               PROJECT LOAN AGREEMENT

        THIS PROJECT LOAN AGREEMENT, dated as of August 25, 2014 (as amended,
restated, replaced, supplemented or otherwise modified from time to time, this “Agreement” or
sometimes “Project Loan Agreement”), among German American Capital Corporation, a
Maryland corporation, having an address at 60 Wall Street, 10th Floor, New York, New York
10005 (together with its successors and assigns and such other co-lenders as may exist from time
to time, “Lender”), Deutsche Bank AG New York Branch, a branch of Deutsche Bank AG, a
banking corporation organized under the laws of the Federal Republic of Germany, licensed by the
New York State Banking Department, having an address at 60 Wall Street, 10th Floor, New York,
New York 10005, as agent for Lender (together with its successors and assigns, “Agent”), and 135
West 52nd Street Owner LLC, a Delaware limited liability company, having its principal place of
business at c/o The Chetrit Group, LLC, 512 Seventh Avenue, New York, New York 10018
(together with its permitted successors and assigns, collectively, “Borrower”).

                                      W I T N E S S E T H:

       WHEREAS, Borrower desires to obtain the Project Loan (as hereinafter defined) from
Lender; and

       WHEREAS, Lender is willing to make the Project Loan to Borrower, subject to and in
accordance with the terms of this Agreement and the other Loan Documents (as hereinafter
defined).

        NOW THEREFORE, in consideration of the making of the Loan by Lender and the
covenants, agreements, representations and warranties set forth in this Agreement, the parties
hereto hereby covenant, agree, represent and warrant as follows (and all other initially capitalized
terms not defined herein shall have the meaning given to such term in the Building Loan
Agreement (as defined below)):

                                       ARTICLE I

                DEFINITIONS; PRINCIPLES OF CONSTRUCTION

       Section 1.1 Definitions. For all purposes of this Agreement, except as otherwise
expressly required or unless the context clearly indicates a contrary intent:

       “Accounts” shall have the meaning specified in Section 7.1 hereof.

       “Actual Return Amount” shall mean the aggregate sum actually paid to Lender of all
Monthly Debt Service Payment Amounts (excluding Service Fees), and any payments in reduction
of the Outstanding Principal Balance (in each case excluding interest at the Default Rate,
repayment of protective advances, any Exit Fee, Structuring Fee and/or any other fees of Agent
and/or Lender or any Affiliate thereof, and any reimbursement or other payment of costs or
expenses incurred by Agent and/or Lender required to be reimbursed by Borrower to Agent and/or
Lender hereunder).



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       “ADA” means the Americans with Disabilities Act, of July 26, 1990, Pub. L. No. 101-336,
104 Stat. 327, 42 U.S.C. § 12101, et. seq., as amended from time to time.

        “Advance” or “Advances” shall mean any disbursement of the proceeds of the Building
Loan by Lender pursuant to the terms of the Building Agreement or disbursement of the proceeds
of the Project Loan pursuant to the terms of this Agreement, or disbursements of the proceeds of
the Senior Loan pursuant to the terms of the Senior Loan Agreement, as applicable.

       “Agent” shall have the meaning set forth in the introductory paragraph hereto.

       “Agreement” shall have the meaning set forth in the introductory paragraph hereto.

       “Borrower” shall have the meaning set forth in the introductory paragraph hereto.

       “Breakage Costs” shall have the meaning specified in Section 2.2.4(c) hereof.

       “Broker” shall have the meaning specified in Section 10.21 hereof.

       “Building Loan” shall mean the loan made by Lender to Borrower pursuant to the
Building Loan Agreement in the principal amount of up to the Building Loan Amount.

        “Building Loan Agreement” shall mean that certain Building Loan Agreement dated as
of the date hereof among Agent, Lender and Borrower, as the same may be amended, restated
supplemented or otherwise modified from time to time.

      “Building Loan Amount” shall mean an amount equal to Sixty-Nine Million, Four
Hundred Seventy Thousand, Fifty and No/100 Dollars ($69,470,050).

       “Closing Date” shall mean the date hereof.

       “Collateral” shall have the meaning ascribed thereto in the Pledge Agreement.

       “Common Loan Documents” shall mean, collectively, the Assignment of Construction
Management Agreement, the Assignment of Sales Agency Agreement and any other assignment
and/or subordination of contracts or other agreements delivered during the Term in connection
with the Loan, the Assignment of Rate Cap, the Guaranty, the Environmental Indemnity, the
Guaranty of Completion, the Limited Payment Guaranty, the Assignment of Contracts, the Pledge
Agreement, the Pledge Agreement Guaranty, the Cash Management Agreement, the Borrower
Operating Account Agreement, the Clearing Account Control Agreement, the Assignment of
Leases, and all other documents now or hereafter executed and/or delivered with respect to the
Loan.

        “Control” or “control” shall mean the possession, directly or indirectly, of the power to
direct or cause the direction of management, policies or activities of a Person, whether through
ownership of voting securities, by contract or otherwise, including, without limitation, having
approval or consent rights over the actions or conduct of a Person.



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        “Debt” shall mean the outstanding principal amount of the Project Loan set forth in, and
evidenced by, this Agreement, the Project Loan Documents and the Project Loan Note, together
with all interest accrued and unpaid thereon, including all other sums (including, without
limitation, the Exit Fee and, if applicable, the Return Differential) due to Agent or Lender in
respect of the Project Loan under the Project Loan Note, this Agreement, the Project Loan
Mortgage or any other Project Loan Documents.

       “Event of Default” shall have the meaning set forth in Section 8.1(a) hereof.

       “Extension Maturity Date” shall mean August 25, 2017.

       “Extension Option” shall have the meaning set forth in Section 2.6 hereof.

       “Indemnified Liabilities” shall have the meaning set forth in Section 10.13(b) hereof.

       “Indemnified Party” or “Indemnified Parties” shall have the meaning specified in
Section 10.13(b) hereof.

       “Initial Interest Period” shall mean the period from the Closing Date to the last day of the
calendar month in which the Closing Date occurs.

       “Initial Maturity Date” shall mean August 25, 2016.

       “Key Man” shall mean Meyer Chetrit, an individual.

       “Lender” shall have the meaning set forth in the introductory paragraph hereto.

       “Line Item” shall have the meaning set forth in Section 3.5.1 hereof.

        “Minimum Return Amount” shall mean the difference between (a) (1) $243,923,750 less
(2) the product of (x) .0675 and (y) all payments in reduction of the Outstanding Principal Balance
received in connection with Unit sales (other than Bulk Sales) in accordance with this Agreement,
and (b) the positive difference between (i) $228,500,000 and (ii) the aggregate amount of all
Advances (which, for the avoidance of doubt, shall exclude protective advances) made under the
Loan Documents.

       “Monthly Debt Service Payment Amount” shall mean on each Payment Date through
and including the Maturity Date, an amount equal to sum of the (i) interest accruing on the
Outstanding Principal Balance at the Interest Rate for the immediately preceding Interest Period,
which interest shall be calculated in accordance with Section 2.2 hereof, and (ii) the portion of the
Servicing Fee then due.

       “Notice” shall have the meaning specified in Section 10.6 hereof.

      “Other Debt” shall mean, collectively, the “Debt” as defined in each of the Building Loan
Agreement and the Senior Loan Agreement.



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        “Other Taxes” means all present or future stamp, court or documentary, intangible,
recording, filing or similar Taxes that arise from any payment made under, from the execution,
delivery, performance, enforcement or registration of, from the receipt or perfection of a security
interest under, or otherwise with respect to, any Loan Document, except any such Taxes that are
Other Connection Taxes imposed with respect to an assignment.

       “Outstanding Principal Balance” means, as of any date, the then outstanding principal
balance of the Loan.

      “Project Loan” shall mean the loan made by Lender to Borrower pursuant to this
Agreement in the principal amount of up to the Project Loan Amount.

          “Project Loan Agreement” shall have the meaning set forth in the introductory paragraph
hereto.

          “Project Loan Amount” shall mean $12,441,650.

          “Project Loan Budget” shall have the meaning set forth in Section 3.5.1 hereof.

       “Project Loan Documents” shall mean, collectively, the Common Loan Documents, this
Agreement, the Project Loan Note and the Project Loan Mortgage, as well as all other documents
now or hereafter executed and/or delivered with respect to the Project Loan.

       “Project Loan Mortgage” shall mean that certain Project Loan Mortgage, Assignment of
Leases and Rents and Security Agreement dated the date hereof, executed and delivered by
Borrower to Agent (for the benefit of Lender) as security for the Project Loan and encumbering the
Property, as the same may be amended, restated, supplemented or otherwise modified from time to
time.

       “Project Loan Note” shall mean that certain Project Loan Promissory Note, dated as of
the date hereof, in the principal amount of up to $12,441,650 made by Borrower in favor of
Lender, as the same may be amended, restated, replaced, supplemented or otherwise modified
from time to time.

        “Repayment Date” shall mean the date upon which the Total Debt shall be indefeasibly
repaid in full.

          “Required Borrower Equity” shall have the meaning set forth in Section 2.1.8 hereof.

       “Return Differential” shall mean, if the Actual Return Amount is less than the Minimum
Return Amount, an amount equal to (x) the Minimum Return Amount, minus (y) the Actual
Return Amount.

         “Term” shall mean the entire term of this Agreement, which shall expire upon repayment
in full of the Debt.

          “Total Debt” shall mean, collectively, the Debt and Other Debt.


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       “U.S. Tax Compliance Certificate” has the meaning assigned to such term in
Section 2.2.4(h)(ii)(B)(iii).

       Section 1.2     Principles of Construction.

                        (a)     All references to sections and schedules are to sections and
schedules in or to this Agreement unless otherwise specified. All uses of the word “including”
shall mean “including, without limitation” unless the context shall indicate otherwise. Unless
otherwise specified, the words “hereof,” “herein” and “hereunder” and words of similar import
when used in this Agreement shall refer to this Agreement as a whole and not to any particular
provision of this Agreement. Unless otherwise specified, all meanings attributed to defined terms
herein shall be equally applicable to both the singular and plural forms of the terms so defined. All
references to, representations by and covenants of “Borrower” shall mean “each Borrower” unless
the context shall indicate otherwise. All references to “saleable” or “rentable” square feet of a Unit
shall refer to the square feet attributable to such Unit in the Offering Plan (to the extent approved
by Agent in accordance with this Agreement).

                       (b)     With respect to any cross-reference to, incorporation by reference
from, and/or any other reference or allusion to the Building Loan Documents, the Project Loan
Documents, and/or the Senior Loan Documents, as the case may be, such references shall be to
referenced defined terms, provisions, sections, schedules, and/or exhibits, as the case may be, as
the same are set forth in the Building Loan Documents, the Project Loan Documents, and/or the
Senior Loan Documents, as the case may be, as of the date hereof, and as each of the same may be
amended, modified, supplemented, extended, replaced and/or restated from time to time, and shall
survive the repayment or satisfaction of the Building Loan, the Project Loan, and/or the Senior
Loan, as the case may be, and/or the termination of the Building Loan Documents, the Project
Loan Documents and/or the Senior Loan Documents, as the case may be, until the occurrence of
the Repayment Date.

                                       ARTICLE II

                                   GENERAL TERMS

       Section 2.1     Loan Commitment; Disbursement to Borrower.

               2.1.1 Agreement to Lend and Borrow. Subject to and upon the terms and
conditions set forth herein, Lender hereby agrees to make and Borrower hereby agrees to accept
Advances in respect of the Project Loan as more particularly set forth in this Agreement.

                2.1.2 No Reborrowings.          Any amount borrowed and repaid hereunder in
respect of the Loan may not be reborrowed.

               2.1.3 The Note, Mortgage and Loan Documents. The Project Loan shall be
evidenced by the Project Loan Note and secured by the Project Loan Mortgage covering the fee
simple interest of Borrower in the Property, the Improvements and other property, rights and
interests of Borrower in the Property, and the other Project Loan Documents and made subject to


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the terms and conditions of this Agreement, and advanced in accordance with the provisions of this
Agreement.

                2.1.4 Use of Proceeds. Borrower hereby agrees that Borrower shall use the
proceeds of the Project Loan solely to pay for Project Related Costs which are not Building Loan
Costs actually incurred in connection with the construction of the Project Improvements if and to
the extent that such Project Related Costs are reflected in the Project Loan Budget. No portion of
the proceeds of the Project Loan are being used for the improvement (as defined in Section 2(4) of
the Lien Law) of the Property.

                2.1.5 Loan Advances. Subject to compliance by Borrower with the terms and
conditions of this Agreement, Lender shall make Advances under this Agreement for Project Loan
Costs to Borrower for the payment of such Project Loan Costs, each as set forth in the Project Loan
Budget, as the same may be revised in accordance with the provisions of this Agreement. If Lender
is comprised of more than one Person, then no Lender shall be obligated to advance more than its
pro rata share of any Advance hereunder. Lender shall not be required to make Advances under
the Project Loan for costs incurred by Borrower with respect to materials stored on or off the
Property unless Borrower has furnished satisfactory evidence that such materials are stored,
secured and insured in accordance with the provisions of Section 3.10 of the Building Loan
Agreement. The Project Loan Budget shall reflect, by category and Line Item, the purposes and
the amounts of each Project Loan Cost for which funds to be advanced by Lender under this
Agreement are to be used. Lender shall not be required to disburse for any category or Line Item
more than the amount specified therefor in the Project Loan Budget, subject to Agent’s prior
written consent in accordance with Sections 3.5 and 3.9 of the Building Loan Agreement. No
Advances or any portion thereof shall be made directly or indirectly for payments to a Borrower
Related Party, except for fees payable to any Borrower Related Party that are expressly set forth in
the Project Budget and approved by Agent (and subject to Section 5.2.16 of the Building Loan
Agreement).

               2.1.6   Intentionally Omitted.

               2.1.7 Insufficiency of Loan Proceeds. Section 2.1.7 of the Building Loan
Agreement, and all accompanying definitions, schedules and exhibits, is hereby incorporated
herein by reference as if fully set forth herein.

               2.1.8 Required Equity Funds. As of the Closing Date, Agent shall have
received evidence acceptable to Agent that direct and/or indirect members of Borrower have, on
the Closing Date, collectively contributed at least $92,250,000 in cash to Borrower in respect of
acquisition costs, Carry Costs and construction costs associated with the Project (the “Required
Borrower Equity”).

       Section 2.2     Interest Rate.

               2.2.1   Interest Rate.

               (a)     Interest Rate. So long as no Event of Default is continuing, interest on the
Loan shall accrue for each Interest Period at the Interest Rate.

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                (b)     Default Rate. In the event that, and for so long as, any Event of Default
shall have occurred and be continuing, the Loan and, to the extent not prohibited by applicable law,
all other portions of the Total Debt, shall accrue interest at the Default Rate, calculated from the
date such payment was due or such Event of Default shall have occurred without regard to any
grace or cure periods contained herein. Interest at the Default Rate shall be paid immediately upon
demand, which demand may be made as frequently as Agent shall elect, to the extent not
prohibited by applicable law.

                2.2.2 Interest Calculation. Interest on the Loan, whether at the Interest Rate or
at the Default Rate, shall be calculated by multiplying (a) the actual number of days in the period
for which the calculation is being made, by (b) a daily rate equal to the Interest Rate or the Default
Rate (or, the weighted average of the Interest Rate and the Default Rate, based on the number of
days in the respective period of calculation for which each such rate is applicable for any period
during which both the Interest Rate and Default Rate are applicable), as applicable, divided by 360,
by (c) the average Outstanding Principal Balance during the relevant Interest Period for which
interest is being calculated, and shall accrue with regard to each of the Building Loan, Senior Loan
and Project Loan based on the Outstanding Principal Balance applicable to each of the Building
Loan, Senior Loan and the Project Loan, respectively. The accrual period for calculating interest
due on each Payment Date shall be the Interest Period immediately prior to such Payment Date.

                2.2.3 Monthly Payments. On each Payment Date (or, on the date hereof with
respect to the Initial Interest Period), Borrower shall pay an amount equal to the Monthly Debt
Service Payment Amount. Subject to the provisions of Sections 2.2.4 below, Borrower shall pay
all other accrued interest on the Outstanding Principal Balance due under each of the Building
Loan, Senior Loan and Project Loan from the Deposit Account in accordance with the order of
distributions set forth in Section 7.4 of the Senior Loan Agreement.

               2.2.4    Gross Up.

                      (a)     All payments made by any Borrower Party pursuant to any Loan
Document shall be made free and clear of, and without reduction for or on account of, Taxes,
except as required by applicable law. If any Taxes are required to be withheld from any amounts
payable to Agent or Lender hereunder, the applicable Borrower Party shall be entitled to make
such withholding and shall timely pay the full amount withheld to the relevant Governmental
Authority in accordance with applicable law and, if such Tax is an Indemnified Tax, then the sum
payable by the applicable Borrower Party shall be increased as necessary so that after such
withholding has been made (including such withholdings applicable to additional sums payable
under this Section 2.2) the applicable Agent or Lender receives an amount equal to the sum it
would have received had no such deduction or withholding been made. Whenever any Tax is
payable pursuant to applicable law by Borrower, as promptly as possible thereafter, Borrower shall
send to Agent an original official receipt, if available, or certified copy thereof showing payment
of such Tax. Borrower hereby indemnifies Agent and Lender for any incremental taxes, interest or
penalties that may become payable by Agent or Lender which may result from any failure by
Borrower to pay any such Tax when due to the appropriate taxing authority or any failure by
Borrower to remit to Agent the required receipts or other required documentary evidence.



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                       (b)     In the event that any change in any requirement of law, rule
regulation or treaty, or in the interpretation or application thereof, or compliance by Agent or
Lender with any request or directive hereafter issued from any central bank or other Governmental
Authority:

                              (i)      shall hereafter impose, modify or hold applicable any
       reserve, special deposit, compulsory loan or similar requirement against assets held by, or
       deposits or other liabilities in or for the account of, advances or loans by, or other credit
       extended by, or any other acquisition of funds by, any office of Agent or Lender;

                              (ii)   shall hereafter have the effect of reducing the rate of return
       on Lender’s capital as a consequence of its obligations under this Section 2.2.4(b) to a level
       below that which Lender could have achieved but for such adoption, change or compliance
       (taking into consideration Lender’s policies with respect to capital adequacy) by any
       amount deemed by Lender to be material;

                              (iii) shall hereafter impose on Agent or Lender any other
       condition and the result of any of the foregoing is to materially increase the cost to Agent or
       Lender of making, renewing or maintaining loans or extensions of credit or to reduce any
       amount receivable hereunder; or

                                (iv)     shall hereafter subject Agent or Lender to any Taxes (other
       than (A) Indemnified Taxes, (B) Taxes described in clauses (b) through (d) of the
       definition of Excluded Taxes and (C) Connection Income Taxes) on its loans, loan
       principal, letters of credit, commitments, or other obligations, or its deposits, reserves,
       other liabilities or capital attributable thereto;

then, in any such case, Borrower shall promptly pay Agent (for disbursement to Lender), within
ten (10) days following demand together with documentation in reasonable detail describing such
cost, any additional amounts necessary to compensate Lender for such additional cost or reduced
amount receivable which Lender deems to be material as determined by Lender in its reasonable
discretion. If Lender becomes entitled to claim any additional amounts pursuant to this
Section 2.2.4(b), Agent shall provide Borrower with not less than thirty (30) days written notice
specifying the additional amount required to fully compensate Lender for such additional cost or
reduced amount together with a statement setting forth the basis for requesting such compensation
and the method for determining the amount thereof. A certificate as to any additional costs or
amounts payable pursuant to the foregoing sentence submitted by Agent to Borrower shall be
conclusive in the absence of manifest error. Agent and each Lender agree to use reasonable efforts
to designate a different lending office to maintain its portion of the Loan if, in the judgment of such
Lender, such different designation would avoid, or reduce, the amount of additional costs and
Indemnified Taxes described in Sections 2.2.4(a) and 2.2.4(b) and will not subject Agent or
Lender to any unreimbursed cost or expense and would not otherwise be materially
disadvantageous to Agent or Lender, provided that Agent and Lender shall have no obligation to
designate a lending office in the United States.

                     (c)     Borrower agrees to indemnify Agent and Lender within ten (10)
days after demand therefor, and to hold Agent and Lender harmless from, any loss or expense

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which Agent or Lender sustains or incurs as a consequence of (i) any Indemnified Taxes (including
Indemnified Taxes imposed or asserted on or attributable to amounts payable under this
Section 2.2.4) payable or paid by Agent or Borrower or required to be withheld or deducted from a
payment to Agent or Borrower and any reasonable expenses arising therefrom or with respect
thereto, whether or not such Indemnified Taxes were correctly or legally imposed or asserted by
the relevant Governmental Authority, and (ii) any prepayment of the Loan on a day that (A) is not
a Payment Date or (B) is a Payment Date if Borrower did not give the prior written notice of such
prepayment required pursuant to the terms of this Agreement, including, without limitation, such
loss or expense arising from interest or fees payable by Lender to lenders of funds obtained by it in
order to maintain the Loan hereunder (the amounts referred to above are herein referred to
collectively as the “Breakage Costs”); provided, however, (other than with respect to clause (i)
above) Borrower shall not indemnify Agent or Lender from any loss or expense arising from
Agent’s or Lender’s willful misconduct, illegal acts, fraud or gross negligence. This provision
shall survive payment of the Note in full and the satisfaction of all other obligations of Borrower
under this Agreement and the other Loan Documents.

                        (d)    Agent and Lender agree to endeavor to take reasonable steps to
mitigate the effect of any Indemnified Taxes, increased cost or reduction in amounts received or
receivable hereunder that would entitled Lender to claim compensation pursuant to this
Section 2.2.4, provided that neither Agent nor Lender shall be required to take any such action that
would otherwise have a material and adverse effect on the rights of Agent or Lender under this
Agreement.

                        (e)     If Lender becomes aware that it is entitled to receive a refund in
respect of amounts paid by Borrower pursuant to Sections 2.2.4(a) or 2.2.4(b) which refund in the
good faith judgment of Lender is allocable to such payment, it shall promptly notify Borrower of
the availability of such refund and shall, within thirty (30) days after the receipt of a request by
Borrower, apply for such refund. If Lender receives such a refund, it shall pay Borrower the refund
(but only to the extent of payments made under this Section 2.2.4 giving rise to such refund) net of
any reasonable out-of-pocket expenses of Lender and without interest (other than any interest paid
by the relevant taxation authority with respect to such refund). Borrower, upon the request of
Agent or Lender, shall repay to Agent or Lender the amount paid over pursuant to this paragraph
(e) (plus any penalties, interest or other charges imposed by the relevant Governmental Authority)
in the event that Agent or Lender is required to repay such refund to such Governmental Authority.
Notwithstanding anything to the contrary in this paragraph (e), in no event will Agent or Lender be
required to pay any amount to Borrower pursuant to this paragraph (e) the payment of which
would place Agent or Lender in a less favorable net after-Tax position than it would have been in if
the costs subject to indemnification or payment under this Section 2.2.4 had never been incurred
(or the Tax subject to indemnification had not been deducted, withheld or otherwise imposed) and
the payments giving rise to such refund had never been paid. This paragraph shall not be construed
to require Agent or Lender to make available its Tax returns (or any other information relating to
its Taxes that it deems confidential) to any Borrower Party or any other Person, but upon request
Agent shall provide a written explanation (without disclosing confidential information) of the
basis for its determination pursuant to the preceding sentence.



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                        (f)    Each Lender shall severally indemnify Agent, within 10 days after
demand therefor, for (i) any Indemnified Taxes attributable to such Lender (but only to the extent
that no Borrower Party has already indemnified Agent for such Indemnified Taxes and without
limiting the obligation of the Borrower Parties to do so), (ii) any Taxes attributable to such
Lender’s failure to comply with the provisions of Section 9.1.4(b) of the Building Loan Agreement
relating to the maintenance of a Participant Register and (iii) any Excluded Taxes attributable to
such Lender, in each case, that are payable or paid by Agent in connection with any Loan
Document, and any reasonable expenses arising therefrom or with respect thereto, whether or not
such Taxes were correctly or legally imposed or asserted by the relevant Governmental Authority.
A certificate as to the amount of such payment or liability delivered to any Lender by Agent shall
be conclusive absent manifest error. Each Lender hereby authorizes Agent to set off and apply any
and all amounts at any time owing to such Lender under any Loan Document or otherwise payable
by Agent to the Lender from any other source against any amount due to Agent under this
paragraph (f)

                      (g)     Borrower shall timely pay to the relevant Governmental Authority
in accordance with applicable law, or at the option of Agent timely reimburse it for the payment of,
any Other Taxes.

                       (h)    Status of Lenders.

                              (i)     Any Lender that is entitled to an exemption from or
       reduction of withholding Tax with respect to payments made under any Loan Document
       shall deliver to Borrower and Agent, at the time or times reasonably requested by Borrower
       or Agent, such properly completed and executed documentation reasonably requested by
       Borrower or Agent as will permit such payments to be made without withholding or at a
       reduced rate of withholding. In addition, any Lender, if reasonably requested by Borrower
       or Agent, shall deliver such other documentation prescribed by applicable law or
       reasonably requested by Borrower or Agent as will enable Borrower or Agent to determine
       whether or not such Lender is subject to backup withholding or information reporting
       requirements. Notwithstanding anything to the contrary in the preceding two sentences,
       the completion, execution and submission of such documentation (other than such
       documentation set forth in Section 2.2.4(h)(ii)(A), (ii)(B) and (ii)(D) below) shall not be
       required if in the Lender’s reasonable judgment such completion, execution or submission
       would subject such Lender to any material unreimbursed cost or expense or would
       materially prejudice the legal or commercial position of such Lender.

                             (ii)    Without limiting the generality of the foregoing, in the event
       that Borrower is a U.S. Person,

                                     (A)     any Lender that is a U.S. Person shall deliver to
                       Borrower and Agent on or prior to the date on which such Lender becomes
                       a Lender under this Agreement (and from time to time thereafter upon the
                       reasonable request of Borrower or Agent), executed originals of IRS Form
                       W-9 certifying that such Lender is exempt from U.S. federal backup
                       withholding tax;


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                                       (B)     any Foreign Lender shall, to the extent it is legally
                       entitled to do so, deliver to Borrower and Agent (in such number of copies
                       as shall be requested by the recipient) on or prior to the date on which such
                       Foreign Lender becomes a Lender under this Agreement (and from time to
                       time thereafter upon the reasonable request of Borrower or Agent),
                       whichever of the following is applicable:

                                       i)      in the case of a Foreign Lender claiming the benefits
of an income tax treaty to which the United States is a party (x) with respect to payments of interest
under any Loan Document, executed originals of IRS Form W-8BEN establishing an exemption
from, or reduction of, U.S. federal withholding Tax pursuant to the “interest” article of such tax
treaty and (y) with respect to any other applicable payments under any Loan Document, IRS Form
W-8BEN establishing an exemption from, or reduction of, U.S. federal withholding Tax pursuant
to the “business profits” or “other income” article of such tax treaty;

                                       ii)     executed originals of IRS Form W-8ECI;

                                     iii)    in the case of a Foreign Lender claiming the benefits
of the exemption for portfolio interest under Section 881(c) of the Code, (x) a certificate
substantially in the form of Exhibit Q-1 of the Building Loan Agreement to the effect that such
Foreign Lender is not a “bank” within the meaning of Section 881(c)(3)(A) of the Code, a “10
percent shareholder” of Borrower within the meaning of Section 881(c)(3)(B) of the Code, or a
“controlled foreign corporation” described in Section 881(c)(3)(C) of the Code (a “U.S. Tax
Compliance Certificate”) and (y) executed originals of IRS Form W-8BEN; or

                                      iv)     to the extent a Foreign Lender is not the beneficial
owner, executed originals of IRS Form W-8IMY, accompanied by IRS Form W-8ECI, IRS Form
W-8BEN, a U.S. Tax Compliance Certificate substantially in the form of Exhibit Q-2 of the
Building Loan Agreement or Exhibit Q-3 of the Building Loan Agreement, IRS Form W-9,
and/or other certification documents from each beneficial owner, as applicable; provided that if the
Foreign Lender is a partnership and one or more direct or indirect partners of such Foreign Lender
are claiming the portfolio interest exemption, such Foreign Lender may provide a U.S. Tax
Compliance Certificate substantially in the form of Exhibit Q-4 of the Building Loan Agreement
on behalf of each such direct and indirect partner;

                                       (C)     any Foreign Lender shall, to the extent it is legally
                       entitled to do so, deliver to Borrower and Agent (in such number of copies
                       as shall be requested by the recipient) on or prior to the date on which such
                       Foreign Lender becomes a Lender under this Agreement (and from time to
                       time thereafter upon the reasonable request of Borrower or Agent),
                       executed originals of any other form prescribed by applicable law as a basis
                       for claiming exemption from or a reduction in U.S. federal withholding
                       Tax, duly completed, together with such supplementary documentation as
                       may be prescribed by applicable law to permit Borrower or Agent to
                       determine the withholding or deduction required to be made; and



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                                       (D)     if a payment made to a Lender under any Loan
                       Document would be subject to U.S. federal withholding Tax imposed by
                       FATCA if such Lender were to fail to comply with the applicable reporting
                       requirements of FATCA (including those contained in Section 1471(b) or
                       1472(b) of the Code, as applicable), such Lender shall deliver to Borrower
                       and Agent at the time or times prescribed by law and at such time or times
                       reasonably requested by Borrower or Agent such documentation prescribed
                       by applicable law (including as prescribed by Section 1471(b)(3)(C)(i) of
                       the Code) and such additional documentation reasonably requested by
                       Borrower or Agent as may be necessary for Borrower and Agent to comply
                       with their obligations under FATCA and to determine that such Lender has
                       complied with such Lender’s obligations under FATCA or to determine the
                       amount to deduct and withhold from such payment. Solely for purposes of
                       this clause (D), “FATCA” shall include any amendments made to FATCA
                       after the date of this Agreement.

Each Lender agrees that if any form or certification it previously delivered expires or becomes
obsolete or inaccurate in any respect, it shall update such form or certification or promptly notify
Borrower and Agent in writing of its legal inability to do so.

                       (i)     For purposes of this Section 2.2.4, the term “applicable law”
includes FATCA.

                2.2.5 Usury Savings. This Agreement, the Note and the other Loan Documents
are subject to the express condition that at no time shall Borrower be obligated or required to pay
interest on the principal balance of the Loan at a rate which could subject Lender or Agent to either
civil or criminal liability as a result of being in excess of the Maximum Legal Rate. If, by the terms
of this Agreement or the other Loan Documents, Borrower is at any time required or obligated to
pay interest on the principal balance due hereunder at a rate in excess of the Maximum Legal Rate,
the Interest Rate, or the Default Rate, as the case may be, shall be deemed to be immediately
reduced to the Maximum Legal Rate and all previous payments in excess of the Maximum Legal
Rate shall be deemed to have been payments in reduction of principal and not on account of the
interest due hereunder. All sums paid or agreed to be paid to Lender for the use, forbearance, or
detention of the sums due under the Loan, shall, to the extent permitted by applicable law, be
amortized, prorated, allocated, and spread throughout the full stated term of the Loan until
payment in full so that the rate or amount of interest on account of the Loan does not exceed the
Maximum Legal Rate of interest from time to time in effect and applicable to the Loan for so long
as the Loan is outstanding.

       Section 2.3     Loan Payment

               2.3.1 Payment. Borrower shall pay to Agent (for disbursement to Lender) on
the Maturity Date or such earlier date on which the Loan becomes due and payable, either by
acceleration or otherwise:

                       (a)     the Outstanding Principal Balance;


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                       (b)    any protective advances funded by Lender;

                     (c)     all accrued and unpaid interest and Servicing Fees due under the
Note, the Mortgage and the other Loan Documents, whether at the Default Rate or otherwise;

                       (d)    the Exit Fee;

                       (e)    the Return Differential, if applicable; and

                     (f)   all other amounts due hereunder and under the Note, the Mortgage
and the other Loan Documents.

                Notwithstanding anything to the contrary set forth in the Loan Documents, the
Project Loan Mortgage shall secure only the obligations with regard to the payment of the Project
Loan, the Project Loan Note and the other Project Loan Documents and shall not secure the
obligations with regard to the payment of the Building Loan or the Senior Loan or the obligations
with regard Building Loan Note or Senior Loan Note or the Building Loan Mortgage or Senior
Loan Mortgage. Borrower, Agent and Lender further agree that all interest or fees payable with
regard to the Loan, including without limitation, the Monthly Debt Service Payment Amount,
other accrued interest, default interest, and the Return Differential shall be allocated by Agent to
the Senior Loan, Building Loan and Project Loan in accordance with the portion of the
Outstanding Principal Balance attributable to the Senior Loan, Building Loan or Project Loan,
respectively, as of such date as determined by Agent in its sole discretion, and such allocation by
Agent shall be deemed to be the allocation of such amounts between the Senior Loan, Building
Loan and Project Loan.

                2.3.2 Late Payment Charge. If any sum (other than principal or any Exit Fee
due on the Maturity Date) is due under the Loan Documents and not paid by Borrower on or prior
to the date on which it is due, Borrower shall pay to Agent (on behalf of Lender) upon demand an
amount equal to the lesser of five percent (5%) of such unpaid sum or the Maximum Legal Rate in
order to defray the expense incurred by Agent and Lender in handling and processing such
delinquent payment and to compensate Agent and Lender for the loss of the use of such delinquent
payment. Any such amount shall be secured by the Mortgage and the other Loan Documents to the
extent permitted by applicable law. The acceptance of a late payment charge shall not constitute a
waiver of any Default or Event of Default then existing pursuant to the Loan Documents. Agent’s
failure to collect a late payment charge at any time shall not constitute a waiver of Agent’s and
Lender’s right thereafter, at any time and from time to time (including upon acceleration of the
Notes or upon payment in full of the Loan), to collect such previously uncollected late payment
charge or to collect subsequently accruing late payment charges. To the extent that Lender is
required pursuant to Section 7.2.4 of the Senior Loan Agreement to apply Interest Reserve Funds
to the payment of the Monthly Debt Service Payment Amount due on any Payment Date and there
are sufficient funds in the Interest Reserve Account to make such payment, failure of Lender to
apply such funds to the Monthly Debt Service Payment Amount shall not give rise to a late
payment charge with regard to such payment hereunder.

               2.3.3 Method and Place of Payment. Except as otherwise specifically provided
herein, all payments and prepayments under this Agreement and the Note shall be made to Agent

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not later than 3:00 P.M., New York City time, on the date when due and shall be made in lawful
money of the United States of America in immediately available funds at Agent’s office or as
otherwise directed in writing by Agent, and any funds received by Agent after such time shall, for
all purposes hereof, be deemed to have been paid on the next succeeding Business Day. Whenever
any payment to be made hereunder or under any other Loan Document shall be stated to be due on
a day which is not a Business Day, the due date thereof shall be the immediately preceding
Business Day.

                2.3.4 Exit Fee. Upon any repayment or prepayment of the Loan, Borrower shall
pay to Agent on the date of such repayment or prepayment the Exit Fee applicable thereto.
Without limiting any restrictions on prepayment of the Loan set forth herein, on the earlier to occur
of (a) any acceleration of the Loan, (b) the Maturity Date, or (c) the prepayment in full of all of the
Obligations, the Exit Fee due and payable shall equal the amount by which (i) $571,250.00
exceeds (ii) the total amount of Exit Fees theretofore paid by Borrower pursuant to this
Agreement. All Exit Fees hereunder shall be deemed to be earned by Lender on the Closing Date.

       Section 2.4     Prepayments

               2.4.1    Voluntary Prepayments

                       (a)     Notwithstanding anything to the contrary set forth herein, the
principal balance of the Note may not be prepaid in whole or part (including, without limitation,
pursuant to a refinancing or similar transaction) prior to the Initial Maturity Date except (i) in
connection with a Casualty or Condemnation in accordance with Section 2.4.2(a) below, (ii) in
connection with the sale of Units in accordance with Section 5.1.32 of the Building Loan
Agreement, or (iii) as provided under Section 2.4.1(b), and in each case subject to Agent’s (on
behalf of Lender) receipt of all amounts set forth in Section 2.3 hereof.

                         (b)    The Debt may be prepaid in whole (but not in part) if (i) Borrower
delivers Agent a written notice specifying the date of prepayment, no later than thirty (30) days
prior to such specified date, which notice shall be revocable (provided Borrower shall reimburse
Agent and Lender for any out of pocket costs and expenses actually incurred as a result of the
delivery of such notice); and (ii) on or prior to such date of prepayment, Borrower pays Agent (for
the benefit of Lender) all amounts due under the Loan, including without limitation, the Return
Differential (if any), the Exit Fee and all other amounts set forth in Section 2.3 hereof.

                     (c)     In each instance of prepayment permitted under this Section 2.4.1,
Borrower shall be required to pay all other sums due hereunder and no principal amount repaid
may be reborrowed. Notwithstanding anything to the contrary set forth in the Loan Documents,
once the Loan has been repaid in full, Lender shall not be obligated to make any further Advance
under the Loan Documents.

               2.4.2    Mandatory Prepayments

                        (a)    If Agent is not obligated to make Net Proceeds available to
Borrower for Restoration in accordance with Section 6.2 of the Building Loan Agreement or in the
event that there are excess Net Proceeds after the completion of Restoration, on the next occurring

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Payment Date following the date on which (a) Agent actually receives any Net Proceeds, and (b)
Agent has determined that such Net Proceeds shall be applied against the Total Debt, Borrower
shall prepay, or Agent shall apply Net Proceeds as a prepayment of, the Total Debt in an amount
equal to one hundred percent (100%) of such Net Proceeds. Except during an Event of Default,
such Net Proceeds that Agent is not obligated to make available to Borrower for Restoration in
accordance with Section 6.2 of the Building Loan Agreement or any excess Net Proceeds after the
completion of Restoration shall be applied by Agent in the order and priority set forth in Section
7.4 of the Senior Loan Agreement as if such amounts were deposited in the Deposit Account (for
purposes of which the first Business Day after the receipt of such excess Net Proceeds shall be
deemed to be a Payment Date), provided that no Return Differential shall be payable in connection
with any prepayment made pursuant to this Section 2.4.2(a).

                      (b)    In addition, in accordance with the provisions of Section 5.1.32 of
the Building Loan Agreement, and in accordance with the priority of distributions from the
Deposit Account set forth in Section 7.4 of the Senior Loan Agreement, Borrower shall partially
prepay the Loan in connection with each Unit sale.

                       (c)    Borrower shall partially prepay a portion of the Total Debt equal to
$5,000,000 on June 1, 2015 (exclusive of any prepayments that may be required under the Loan
Documents, including, without limitation, any prepayments in connection with any release of any
Unit), unless prior to such date (i) Borrower has consummated a Unit sale in accordance with
Section 5.1.32 of the Building Loan Agreement with respect to the retail Unit for a sale price
resulting in Net Sales Proceeds greater than or equal to the Minimum Release Price for such retail
Unit, or (ii) Borrower has consummated Unit sales in accordance with Section 5.1.32 of the
Building Loan Agreement with respect to the office Units for sale prices resulting in aggregate Net
Sales Proceeds greater than or equal to the aggregate Minimum Release Price for such commercial
Units.

                2.4.3 Miscellaneous. The making of an Advance by Lender shall not constitute
Agent’s or Lender’s approval or acceptance of the construction theretofore completed or materials
furnished with respect thereto. Agent’s or Lender’s inspection and approval of any Plans and
Specifications, the construction of the Project Improvements, or the workmanship and materials
used therein, shall impose no liability of any kind on Agent or Lender, the sole obligation of Agent
and Lender as the result of such inspection and approval being to make the Advances if and to the
extent, required by this Agreement.

       Section 2.5     Release of Property

                         (a)     Except as set forth in this Section 2.5 and in Section 5.1.32 of the
Building Loan Agreement, no repayment or prepayment of all or any portion of the Loan shall
cause, give rise to a right to require, or otherwise result in, the release of the Lien of the Mortgage
on the Property.

                        (b)     Agent shall, upon the written request of Borrower, on the
Repayment Date, at the expense of Borrower and subject to the further provisions of
Section 2.5(c), (i) release the Lien of the Mortgage and terminate the Assignment of Leases, or
(ii) assign the Mortgage and Note, without recourse, covenant or warranty of any nature, express

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or implied, to a new lender designated by Borrower and shall execute, acknowledge and deliver to
such new lender the assignment of Mortgage and Note, provided that (a) Borrower shall pay the
actual third party expenses incurred by Agent and Lender in connection therewith, and Agent’s
and Lender’s reasonable attorneys’ fees for the preparation and delivery of the assignment or
release documentation, (b) Borrower shall have caused the delivery of an executed Statement of
Oath under Section 255 and Section 275 of the New York Real Property Law, and (c) such an
assignment is not then prohibited by any federal, state or local law, rule, regulation or order or by
any governmental authority.

                       (c)     In connection with the release or satisfaction of the Mortgage and
the Assignment of Leases or the assignment of the Mortgage on the Repayment Date, as
applicable, Borrower shall submit to Agent, not less than five (5) Business Days prior to the
Payment Date on which Borrower intends to pay the Total Debt in full, a release of Mortgage and
Assignment of Leases for the Property or assignment of Mortgage and Note, as applicable, for
execution by Agent. Such release or satisfaction or assignment shall be in a form appropriate in
the jurisdiction in which the Property is located and that would be reasonably satisfactory to a
prudent lender and contains standard provisions, if any, protecting the rights of the releasing or
assigning lender. In addition, Borrower shall provide all other documentation (including, without
limitation, UCC-3 financing statements) Agent reasonably requires to be delivered by Borrower in
connection with such release of the Mortgage and Assignment of Leases and other Loan
Documents or assignment of Mortgage and Note, as applicable.

        Section 2.6 Extension Option. Subject to the provisions of this Section 2.6, Borrower
shall have the one-time option (the “Extension Option”) to extend the Maturity Date until the
Extension Maturity Date. Borrower’s right to so extend the Maturity Date shall be subject to the
satisfaction of each of the following conditions precedent prior to such extension:

                               (i)      Borrower shall have given Agent written irrevocable notice
of such extension (x) no later than thirty (30) days prior to the Initial Maturity Date and (y) no
earlier than ninety (90) days prior to the Initial Maturity Date;

                               (ii)    No monetary Default, material non-monetary Default or any
Event of Default, shall have occurred and be continuing at the time of the delivery of the written
extension notice or as of the Initial Maturity Date;

                             (iii) Agent shall have received a title continuation letter from the
Title Company (x) confirming that the Mortgage remains a valid first-priority Lien against the
Property, subject only to Permitted Encumbrances, (y) showing title to the Property vested in
Borrower, and (z) showing no exceptions to title other than those previously approved by Agent or
permitted under the Loan Documents, in a form reasonably satisfactory to Agent;

                              (iv)  Borrower shall have paid all costs and expenses actually
incurred by Agent and Lender in connection with such extension, including underwriting, title and
reasonable legal fees and costs;

                               (v)   The Loan to Value Ratio as of the Initial Maturity Date shall
not exceed sixty-five percent (65%) based on an Appraisal; provided that Borrower shall have the

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right to repay a portion of the Outstanding Principal Balance as of the Initial Maturity Date in an
amount sufficient to satisfy the foregoing Loan to Value Ratio requirement, provided that no
Return Differential shall be payable in connection with any prepayment made pursuant to this
Section 2.6(v);

                              (vi)  Final Completion shall have occurred (except the
requirement therein that all Punch List Items shall have been completed) and Agent shall have
received confirmation from Construction Consultant with respect thereto;

                               (vii) At least fifty percent (50%) of the residential Units (as to
both net sellable square footage and number of units) either (A) are subject to fully executed Unit
Sale Contracts entered into in accordance with this Agreement, pursuant to which the sale
thereunder is scheduled to close within ninety (90) days after the Initial Maturity Date, with no
financing contingencies or adjournment rights for the applicable purchasers thereunder, and
further provided there is no outstanding dispute under such applicable Unit Sale Contracts or with
regard to such residential Units , or (B) have been sold (i.e., fee title to such residential Units has
been conveyed to the applicable purchasers pursuant to condominium unit deeds) in accordance
with this Agreement;

                                (viii) There shall be no challenge, action, suit, proceeding, or
investigation is pending or threatened in writing against any part of the Property or Borrower by
any person, in any court or before any Governmental Authority which is reasonably likely to
materially interfere with the sale of Units, or otherwise materially adversely affect the value of the
Property, as determined by Agent acting in its reasonable discretion;

                              (ix)    Guarantor continues to comply with the covenants
contained in the Guaranty, Environmental Indemnity and Guaranty of Completion, and Guarantor
has provided to Agent a reaffirmation of the same in a form reasonably acceptable to Agent;

                               (x)    Borrower shall have made a deposit into the Carry Cost
Account in an amount equal to the amount required to be deposited in the Carry Cost Account
pursuant to Section 7.2.1 of the Senior Loan Agreement as of the Initial Maturity Date;

                               (xi)   Borrower shall have made a deposit into the Interest Reserve
Account in an amount equal to the amount required to be deposited in the Interest Reserve Account
pursuant to Section 7.2.3 of the Senior Loan Agreement as of the Initial Maturity Date;

                            (xii) Each of the Building Loan, the Senior Loan and the Project
Loan must be concurrently extended to the extent the same remain outstanding;

                           (xiii) Borrower shall have entered into an Interest Rate Cap
Agreement for the Extension Period and complied with the provisions of Section 2.13 of the
Building Loan Agreement;

                               (xiv)   No Shortfall shall exist as of the Initial Maturity Date; and



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                               (xv) The representations and warranties made by Borrower in the
Loan Documents or otherwise made by Borrower in connection therewith after the date thereof
shall have been true and correct in all material respects on the date on which made and shall also be
true and correct as if remade upon the exercise of the Extension Option and on Initial Maturity
Date (unless the same solely relate to a different time period).

       Section 2.7 Payments Not Conditional. All payments required to be made by
Borrower hereunder or under the Note or the other Loan Documents shall be made irrespective of,
and without deduction for, any setoff, claim or counterclaim and shall be made irrespective of any
defense thereto.

       Section 2.8     Initial Advance

               2.8.1 Conditions of Initial Advance. Section 2.8.1 of the Building Loan
Agreement, and all accompanying definitions, schedules and exhibits, is hereby incorporated
herein by reference as if fully set forth herein.

       Section 2.9     Advances

               2.9.1 Conditions of all Advances. Section 2.9.1 of the Building Loan
Agreement, and all accompanying definitions, schedules and exhibits, is hereby incorporated
herein by reference as if fully set forth herein.

       Section 2.10 Conditions of Final Advance. Section 2.10 of the Building Loan
Agreement, and all accompanying definitions, schedules and exhibits, is hereby incorporated
herein by reference as if fully set forth herein.

        Section 2.11 No Reliance. All conditions and requirements of this Agreement are for the
sole benefit of Agent and Lender and no other person or party (including, without limitation, the
Construction Consultant, the Construction Manager and subcontractors (including, without
limitation, Major Contractors) and materialmen engaged in the construction of the Project
Improvements) shall have the right to rely on the satisfaction of such conditions and requirements
by Borrower. Agent shall have the right, in its sole and absolute discretion, to waive any such
condition or requirement and Borrower shall be authorized to rely on such waiver if and to the
extent such waiver is in writing and signed by Agent.

       Section 2.12 Method of Disbursement of Loan Proceeds.

               2.12.1 Draw Request to Be Submitted to Agent. At such time as Borrower shall
desire to obtain an Advance (the date of such Advance being required to be a Business Day),
Borrower shall complete, execute and deliver to Agent a Borrower’s Requisition in the form
attached as Exhibit L to the Building Loan Agreement. With regard to Advances for Project Loan
Costs, Borrower’s Requisition shall be accompanied by:

                      (a)      invoices evidencing such Project Loan Costs in form reasonably
acceptable to Agent; and


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                      (b)       such other information, documentation and certification as Agent
shall reasonably request with respect to the Project Loan Costs to be paid from such Advance.

                2.12.2 Procedure of Advances. Section 2.12.2 of the Building Loan Agreement,
and all accompanying definitions, schedules and exhibits, is hereby incorporated herein by
reference as if fully set forth herein.

                 2.12.3 Funds Advanced. Section 2.12.3 of the Building Loan Agreement, and all
accompanying definitions, schedules and exhibits, is hereby incorporated herein by reference as if
fully set forth herein.

               2.12.4 Direct Advances to Third Parties. Section 2.12.3 of the Building Loan
Agreement, and all accompanying definitions, schedules and exhibits, is hereby incorporated
herein by reference as if fully set forth herein.

               2.12.5 One Advance Per Month. Section 2.12.5 of the Building Loan
Agreement, and all accompanying definitions, schedules and exhibits, is hereby incorporated
herein by reference as if fully set forth herein.

               2.12.6 Advances Do Not Constitute a Waiver. Section 2.12.6 of the Building
Loan Agreement, and all accompanying definitions, schedules and exhibits, is hereby incorporated
herein by reference as if fully set forth herein.

                2.12.7 Trust Fund Provisions. All proceeds advanced hereunder shall be subject
to the trust fund provisions of Section 13 of the Lien Law.

                 2.12.8 Extension Period. Section 2.12.8 of the Building Loan Agreement, and all
accompanying definitions, schedules and exhibits, is hereby incorporated herein by reference as if
fully set forth herein.

               2.12.9 Advances and Disbursements Under Guaranty of Completion. Section
2.12.9 of the Building Loan Agreement, and all accompanying definitions, schedules and exhibits,
is hereby incorporated herein by reference as if fully set forth herein.

        Section 2.13 Interest Rate Cap Agreement Section 2.13 of the Building Loan
Agreement, and all accompanying definitions, schedules and exhibits, is hereby incorporated
herein by reference as if fully set forth herein.

                                     ARTICLE III

           CONSTRUCTION REPRESENTATIONS AND COVENANTS

       Section 3.1    The Project Improvements.

                    (a)   Borrower represents and warrants to Agent and Lender as of the
Closing Date that Borrower has furnished Agent true and complete sets of the Plans and
Specifications which comply with all applicable Legal Requirements (including, without


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limitation, all requirements of the ADA), all Governmental Approvals, the requirements set forth
in the Offering Plan, and are the Plans and Specifications that are the basis for all Governmental
Approvals required to construct the Project Improvements, and such Plans and Specifications have
been approved by any applicable Governmental Authority and Borrower’s Architect as required
for construction of the Project Improvements in accordance with this Agreement, and are the same
Plans and Specifications submitted to Construction Manager and to all Contractors performing
work at the Property.

                      (b)     Borrower represents and warrants to Agent and Lender as of the
Closing Date that appropriate Governmental Authorities have issued all Governmental Approvals
required for the commencement of construction of the Improvements in accordance with the Plans
and Specifications. Each addition to or modification of the Plans and Specifications shall be
subject to approval in writing by Agent, and, to the extent required by law, by the appropriate
Governmental Authorities.

                       (c)     Borrower shall not commence any work on any stage or phase of the
Project Improvements unless all required Governmental Approvals have been issued or obtained
from the appropriate Governmental Authorities with respect to the commencement of such stage
or phase of construction. All Plans and Specifications shall become the property of Agent upon the
occurrence of an Event of Default under the Loan Documents.

                       (d)     The Project Improvements shall be constructed and equipped in
compliance with the requirements of the Governmental Authorities and the appropriate Board of
Fire Underwriters, if any, or other similar body, if any, acting in and for the locality in which the
Property is situated. Compliance with the provisions of this Article III and any other provisions of
this Agreement relating to the construction and equipping of the Project Improvements shall be
determined by Agent in its sole discretion.

                       (e)    At all times Agent, the Construction Consultant, and their respective
agents and employees, shall have the right of entry and free access to the Property to inspect the
Project Improvements, subject to the rights of any third party Unit owners with respect to
individual Units, provided that Agent, the Construction Consultant, and their respective agents and
employees shall use reasonable efforts not to unreasonably interfere with Borrower’s construction
of the Project Improvements.

                        (f)     Borrower hereby acknowledges and agrees that neither Agent,
Lender nor the Construction Consultant’s approval of any Plans and Specifications (or any
revisions thereto), nor its inspection of the performance of the construction, nor its right to inspect
such work, shall impose upon Agent, Lender and/or Construction Consultant any obligation or
liability whatsoever with respect thereto, including, without limitation, any obligation or liability
that might arise as a result of such work not being performed in accordance with Legal
Requirements or with the Plans and Specifications (and revisions thereto) approved by Agent,
Lender and Construction Consultant or otherwise. The review or approval by Agent, Lender and
Construction Consultant of any Plans and Specifications or any revisions thereto is solely for
Agent’s and Lender’s benefit, and is without any representation or warranty whatsoever with
respect to the adequacy, correctness or efficiency thereof or otherwise. Neither the granting by


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Agent, Lender and/or Construction Consultant of its approval of any Plans and Specifications or
any revisions thereto, shall in any manner constitute or be deemed to constitute a judgment or
acknowledgment by Agent or Lender as to their legality or compliance with Legal Requirements .

               Section 3.2    Intentionally Omitted.

               Section 3.3    Completion of Improvements.

                      (a)     Borrower shall diligently pursue construction and completion of all
of the Project Improvements to Substantial Completion on or prior to the Substantial Completion
Date and Final Completion on or prior to the Final Completion Date, all in accordance with the
Plans and Specifications, the Construction Schedule (including Major Milestones), the Business
Plan, the Condominium Documents, and in compliance with all restrictions, covenants and
Easements affecting the Property, all applicable Legal Requirements, all applicable Governmental
Approvals, and the terms and conditions of the Loan Documents, and free and clear of all liens,
encumbrances and security instruments (other than the Permitted Encumbrances).

                       (b)    Borrower shall promptly pay all sums and perform such duties as
may be necessary to complete such construction of the Project Improvements in accordance with
the applicable Plans and Specifications and in compliance with all restrictions, covenants and
Easements affecting the Property, all Legal Requirements and all applicable Governmental
Approvals, and in accordance with all terms and conditions of the Loan Documents free from any
Liens, claims or assessments (actual or contingent) asserted against the Property for any material,
labor or other items furnished in connection therewith.

                      (c)     Borrower agrees to use best efforts to obtain a permanent certificate
of occupancy for the entire Property as soon as reasonably practicable and in any event within the
time periods required by law or as set forth in the Offering Plan.

       Section 3.4 Correction of Defects. Borrower shall promptly correct (or cause the
responsible Contractor to correct) all defects in the Project Improvements or any departure from
the applicable Plans and Specifications not previously approved by Agent to the extent required
hereunder. Borrower agrees that the advance of any proceeds of the Loan whether before or after
such defects or departures from the applicable Plans and Specifications are discovered by, or
brought to the attention of, Agent shall not constitute a waiver of Agent’s right to require
compliance with this covenant.

               Section 3.5    Project Loan Budget.

               3.5.1 Generally. Borrower has prepared a budget, which details all Project Loan
Costs to be incurred by Borrower until Final Completion in accordance with the Plans and
Specifications (the “Project Loan Budget”), which is attached hereto as Exhibit B and Borrower
represents and warrants same to be its best estimate of the Project Loan Costs to be incurred by
Borrower until Final Completion (including completion of all Punch List Items and obtaining a
permanent certificate of occupancy) in accordance with the Plans and Specifications and all Legal
Requirements. Each category of direct and indirect cost, including, without limitation, the major
trades or project components within such category (the “Line Items”), shall be delineated in the

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Project Budget with those that are approved as Project Related Costs to be disbursed out of Project
Loan proceeds subject to availability and satisfaction of all applicable conditions to Advances
hereunder, being so indicated. The Project Loan Budget shall contain a “Contingency” Line Item.
Any revision to the Project Loan Budget will be subject to Agent’s approval, in its sole and
absolute discretion (except as expressly set forth in Section 3.9).

                3.5.2 Cost Overruns. If Borrower becomes aware of any change in Project
Loan Costs which will increase a category or Line Item of Project Loan Costs reflected on the
Project Loan Budget, Borrower shall promptly notify Agent in writing and promptly submit to
Agent for its approval a revised Project Loan Budget. Any reallocation of any category or Line
Items in the Project Loan Budget in connection with cost overruns shall be subject to Agent’s
approval in Agent’s sole discretion (except as expressly set forth in Section 3.9). Agent shall have
no obligation to make any further Advances unless and until the revised Project Loan Budget so
submitted by Borrower, as applicable, is approved by Agent, and Agent reserves the right to
approve or disapprove any revised Project Loan Budget in its sole and absolute discretion (except
as expressly set forth in Section 3.9) and to require the funding of a Shortfall if required pursuant to
Section 2.1.7 of the Building Loan Agreement.

        Section 3.6 Project Budget. Borrower represents and warrants, as of the date hereof
and on each date that Borrower submits a revised Project Budget to Agent, that the Project Budget
which is attached hereto as Exhibit D (or the revised Project Budget submitted to Agent from time
to time, as applicable) is its best estimate of the Project Related Costs, Carry Costs and Debt
Service to be incurred by Borrower until Final Completion and the consummation of the sale of
each of the Units (including completion of all Punch List Items and obtaining a permanent
certificate of occupancy) in accordance with the Plans and Specifications, Business Plan and all
Legal Requirements. Any revision to the Project Budget will be subject to Agent’s approval, in its
sole and absolute discretion (except as expressly set forth in Section 3.9).

         Section 3.7 Feasibility. The Construction Schedule is accurate and complete and
represents the schedule of construction that the Construction Manager is required to adhere to
pursuant to the Construction Management Agreement and, to Borrower’s best information and
belief, can be met as and when required thereunder.

       Section 3.8 Change Orders. Borrower shall permit no Change Orders or deviations
from any Plans and Specifications, the Construction Schedule or Project Budget or any
amendment, modification or supplement to any Major Contract during construction without the
prior written consent of Agent acting in its sole discretion. Any Change Orders shall clearly
delineate the proposed changes to the applicable Plans and Specifications with bubbles or other
clear method of indicating revisions to the prior version.

       Section 3.9     Cost Savings and Contingency Reserve.

                3.9.1 Reallocation of Cost Savings to Contingency. With respect to Construction
Costs set forth in the Project Loan Budget, after Borrower has delivered to Agent reasonably
satisfactory evidence that the requirements set forth in the definition of “Cost Savings” have been
satisfied, Borrower may revise the Project Loan Budget from time to time to reallocate
demonstrated Cost Savings available under any Line Item for other Construction Costs in the

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Project Loan Budget (but not for any costs in the Building Loan Budget) to the “Contingency”
Line Item in the Project Loan Budget (and subsequently utilized in accordance with Section 3.9.2).

               3.9.2 Reallocation of Contingency to Other Line Items. Subject to the prior
written approval of Agent, Borrower may reallocate “Contingency” in the Project Loan Budget to
other Line Items for Construction Costs in the Project Loan Budget, provided, however, that
Lender shall not unreasonably withhold its approval to such reallocation of “Contingency” to other
Line Items of the Project Loan Budget if the amount so reallocated (together with all other
amounts of “Contingency” previously reallocated), when expressed as a percentage of total
“Contingency” in the Project Loan Budget (taking into account demonstrated Cost Savings
reallocated pursuant to Section 3.9.1), is equal to or less than the percentage of completion of the
Project Improvements at the time of such reallocation; except that Agent’s consent shall not be
required for the reallocation of the first 20% of the “Contingency” line item (as of the Closing
Date) to other Line Items of the Project Loan Budget.

       Section 3.10 Intentionally Omitted.

       Section 3.11 Construction Consultant.

                3.11.1 Borrower acknowledges that (i) the Construction Consultant has been
retained by Agent to act as a consultant and only as a consultant to Agent in connection with the
construction of the Project Improvements and has no duty to Borrower, (ii) the Construction
Consultant shall in no event have any power or authority to give any approval or consent or to do
any other act or thing which is binding upon Agent, (iii) Agent reserves the right to make any and
all decisions required to be made by Agent under this Agreement and to give or refrain from giving
any and all consents or approvals required to be given by Agent under this Agreement and to
accept or not accept any matter or thing required to be accepted by Agent under this Agreement,
and without being bound or limited in any manner or under any circumstance whatsoever by any
opinion expressed or not expressed, or advice given or not given, or information, certificate or
report provided or not provided, by the Construction Consultant with respect thereto, (iv) Agent
reserves the right in its sole and absolute discretion to disregard or disagree, in whole or in part,
with any opinion expressed, advice given or information, certificate or report furnished or
provided by the Construction Consultant to Agent or any other person or party, and (v) Agent
reserves the right to replace the Construction Consultant with another construction consultant at
any time and without prior notice to or approval by Borrower.

              3.11.2 The Construction Consultant shall perform the following services on
behalf of Agent:

                       (a)     Prepare the Project Reports;

                     (b)     Review and advise Agent whether, in the opinion of the
Construction Consultant, the Plans and Specifications are satisfactory;

                       (c)     Review Draw Requests and Change Orders;



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                    (d)        Make inspections and visits in accordance with Section 5.1.5 of the
Building Loan Agreement;

                       (e)     Attend all meetings of any nature relating to the Project;

                      (f)     Review any Contracts, Governmental Approvals or other
documentation relating to the Project requested by Agent or the Construction Consultant; and

                     (g)     Take such other actions deemed necessary by Agent or the
Construction Consultant in order to effectively administer and review the Project.

                 3.11.3 The fees of the Construction Consultant shall be paid by Borrower (and
expenses incurred by Agent on account thereof shall be reimbursed to Agent) after Borrower
receives the Construction Consultant’s invoice approved by Agent for payment to the extent such
fees are set forth in the Project Budget or, if not set forth in the Project Budget, within fifteen (15)
days of request therefor, but neither Agent nor the Construction Consultant shall have any liability
to Borrower on account of (i) the services performed by the Construction Consultant, (ii) any
neglect or failure on the part of the Construction Consultant to properly perform its services or
(iii) any approval by the Construction Consultant of construction of the Project Improvements.
Neither Agent nor the Construction Consultant assumes any obligation to Borrower or any other
Person concerning the quality of construction of the Project Improvements or the absence
therefrom of defects.

                                        ARTICLE IV

                      REPRESENTATIONS AND WARRANTIES

        Section 4.1 Borrower Representations. The representations and warranties set forth
in Section 4.1 of the Building Loan Agreement, and all accompanying definitions, schedules and
exhibits, are hereby incorporated herein by reference as if fully set forth herein and remade by
Borrower; provided, however, that all references to “Building Loan,” “Building Loan Mortgage,”
“Building Loan Note,” and “Building Loan Documents,” shall be replaced with references to the
“Project Loan,” “Project Loan Mortgage,” “Project Loan Note,” and “Project Loan Documents,”
respectively.

        Section 4.2 Incorporation of Representations. All representations and warranties
contained in any other Loan Document (including, without limitation, any Officer’s Certificate)
furnished to Agent by or on behalf of Borrower, as part of or in support of its application for the
Loan or pursuant to this Agreement or any of the other Loan Documents are hereby incorporated
by reference as if fully set forth herein.

       Section 4.3 Survival of Representations. Borrower agrees that all of the
representations and warranties of Borrower set forth in Section 4.1 of the Building Loan
Agreement and elsewhere in this Agreement and in the other Loan Documents shall survive for so
long as any amount remains owing to Agent or Lender under this Agreement or any of the other
Loan Documents by Borrower. All representations, warranties, covenants and agreements made in
this Agreement or in the other Loan Documents by Borrower shall be deemed to have been relied

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upon by Agent and Lender notwithstanding any investigation heretofore or hereafter made by
Agent and Lender or on their behalf.

                                      ARTICLE V

                              BORROWER COVENANTS

       Section 5.1 Affirmative Covenants. The covenants set forth in Section 5.1 of the
Building Loan Agreement, and all accompanying definitions, schedules and exhibits, are hereby
incorporated herein by reference as if fully set forth herein and remade by Borrower; provided,
however, that all references to “Building Loan,” “Building Loan Mortgage,” “Building Loan
Note,” and “Building Loan Documents,” shall be replaced with references to the “Project Loan,”
“Project Loan Mortgage,” “Project Loan Note,” and “Project Loan Documents,” respectively.

       Section 5.2 Negative Covenants. The covenants set forth in Section 5.2 of the
Building Loan Agreement, and all accompanying definitions, schedules and exhibits, are hereby
incorporated herein by reference as if fully set forth herein and remade by Borrower; provided,
however, that all references to “Building Loan,” “Building Loan Mortgage,” “Building Loan
Note,” and “Building Loan Documents,” shall be replaced with references to the “Project Loan,”
“Project Loan Mortgage,” “Project Loan Note,” and “Project Loan Documents,” respectively.

        Section 5.3 Covenants after Conversion. From and after the Conversion until the
Board Turnover Date, each covenant in the Building Loan Agreement or any other Loan
Document requiring Borrower to take (or refrain from taking) any action shall be read to also
require Borrower to, prior to the Board Turnover Date, cause the Condominium Board to take (or
refrain from taking) such action (without excusing Borrower from performance of the same to the
extent such covenant is capable of being performed by Borrower), subject to Borrower’s fiduciary
duty as a member of the Condominium Board. From and after the Board Turnover Date, each
covenant in the Building Loan Agreement or any other Loan Document requiring Borrower to take
(or refrain from taking) any action shall be read to also require Borrower to cause the members of
the Condominium Board designated by Borrower to vote in a manner consistent with such
covenant (without excusing Borrower from performance of the same to the extent such covenant is
capable of being performed by Borrower), subject to Borrower’s fiduciary duty as a member of the
Condominium Board.

                                     ARTICLE VI

                          INSURANCE; CASUALTY;
                     CONDEMNATION; REQUIRED REPAIRS

        Section 6.1 Incorporation of Building Loan Agreement. Article VI of the Building
Loan Agreement, and all accompanying definitions, schedules and exhibits, is hereby incorporated
herein by reference as if fully set forth herein.




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                                     ARTICLE VII

                                   RESERVE FUNDS

         Section 7.1 Deposit Account. Borrower shall cause all Gross Revenue (other than
amounts in respect of Net Sales Proceeds, which shall be deposited directly in the Deposit Account
pursuant to this Section 7.1 to the extent Gross Sales Proceeds are not in escrow pursuant to
Section 5.1.32 of the Building Loan Agreement and/or pursuant to the Condominium Documents)
to be transmitted directly into a trust account (the “Clearing Account”) established on or prior to
the Closing Date and maintained by Borrower at a bank that is an Eligible Institution and is
reasonably approved by Lender (the “Clearing Bank”), as more fully described in the Clearing
Account Control Agreement executed in connection with the opening of the Clearing Account.
Borrower shall cause all Net Sales Proceeds (to the extent Gross Sales Proceeds are not in escrow
pursuant to Section 5.1.32 of the Building Loan Agreement and/or pursuant to the Condominium
Documents) to be transmitted directly into the Deposit Account. Without in any way limiting the
foregoing, if Borrower or any other Person shall receive any Net Sales Proceeds or other Gross
Revenue from the Property, then (i) such amounts shall be deemed to be collateral for the
Obligations and shall be held in trust for the benefit, and as the property, of Agent (on behalf of
Lender), (ii) such amounts shall not be commingled with any other funds or property of Borrower
or such Person, and (iii) Borrower or such Person shall deposit (x) such Gross Revenue (other than
Net Sales Proceeds) in the Clearing Account, and (y) such Net Sales Proceeds in the Deposit
Account, in each case, within one (1) Business Day of receipt. All funds deposited into the
Clearing Account shall be swept by the Clearing Bank on a daily basis into the Deposit Account.
Funds deposited into the Deposit Account shall be applied and disbursed in accordance with this
Agreement. Agent may also establish subaccounts of the Deposit Account which shall at all times
be Eligible Accounts (or may be ledger or book entry accounts and not actual accounts) (such
Deposit Account along with the Clearing Account, the Carry Cost Account, the Interest Reserve
Account and the Rebalancing Reserve Account and all other accounts and subaccounts established
pursuant to the Loan Documents are referred to herein as “Accounts”). The Deposit Account and
all other Accounts will be under the sole control and dominion of Agent, and Borrower shall have
no right of withdrawal therefrom. Borrower shall pay for all expenses of opening and maintaining
all of the Accounts. Failure to make any deposit into any Account as and when required pursuant
to this Agreement shall be an immediate Event of Default.

        Section 7.2 Reserve Accounts. Section 7.2 of the Senior Loan Agreement, and all
accompanying definitions, schedules and exhibits, is hereby incorporated herein by reference as if
fully set forth herein.

       Section 7.3 Security Interest in Funds. Section 7.3 of the Building Loan Agreement,
and all accompanying definitions, schedules and exhibits, is hereby incorporated herein by
reference as if fully set forth herein.

        Section 7.4 Order of Priority of Funds in Deposit Account. Section 7.4 of the Senior
Loan Agreement, and all accompanying definitions, schedules and exhibits, is hereby incorporated
herein by reference as if fully set forth herein.



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                                     ARTICLE VIII

                                       DEFAULTS

       Section 8.1     Event of Default.

                       (a)      Each of the following events, after the giving of any required
notice and the passage of any applicable grace or cure period expressly set forth below (without the
alleged failure or breach having been cured), shall constitute an event of default hereunder (an
“Event of Default”):

                              (i)     if any portion of the Total Debt is not paid when due;

                              (ii)   if Borrower shall fail to make any deposit into any Account
       (including, without limitation, the Carry Cost Account, the Interest Reserve Account and
       the Rebalancing Reserve Account) as and when required hereunder;

                               (iii) if the Policies are not kept in full force and effect, or if
       certified copies of the Policies are not delivered to Agent as and when required pursuant to
       the terms hereof;

                              (iv)   any Transfer other than a Permitted Transfer occurs without
       Agent’s prior written consent;

                              (v)    if, any representation or warranty made by any Borrower
       Party herein or in any other Loan Document, or in any report, certificate, financial
       statement or other instrument, agreement or document furnished to Agent or Lender shall
       have been false or misleading in any material respect as of the date the representation or
       warranty was made, repeated or deemed repeated;

                               (vi)   if any Borrower Party (1) shall make an assignment for the
       benefit of creditors, (2) has admitted in writing its inability to pay its debts or (3) is not
       Solvent; or Borrower shall not generally be paying its debts as they become due;

                              (vii) if a receiver, liquidator or trustee shall be appointed for any
       Borrower Party or if any Borrower Party shall be adjudicated a bankrupt or insolvent, or if
       any petition for bankruptcy, reorganization or arrangement pursuant to federal bankruptcy
       law, or any similar federal or state law, shall be filed by or against, consented to, or
       acquiesced in by, any Borrower Party, or if any proceeding for the dissolution or
       liquidation of any Borrower Party shall be instituted; provided, however, if such
       appointment, adjudication, petition or proceeding was involuntary and not consented to,
       acquiesced in by or solicited by any Borrower Party, such Event of Default shall be deemed
       cured and no longer continuing if such proceeding is discharged, stayed or dismissed
       within ninety (90) days of commencement of the same;




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                             (viii) if any Borrower Party attempts to transfer its rights under
       this Agreement or any of the other Loan Documents or any interest herein or therein in
       contravention of the Loan Documents;

                              (ix)     if Borrower breaches any covenant contained in
       Section 2.4.2(c), Article III, Sections 4.1.21, 4.1.29, 4.1.44, 5.1.18, 5.1.23, 5.1.24, 5.1.27,
       5.1.32 or 5.2 of the Building Loan Agreement;

                                    (x)    if Borrower breaches the covenants set forth in
       Section 5.1.12 of the Building Loan Agreement and such breach is not cured within ten
       (10) Business Days of Borrower receiving notice of the same;

                                      (xi)   if one or more judgments or decrees shall be entered
       against (i) Borrower involving in the aggregate a liability in excess of $250,000, or against
       Guarantor (collectively) involving in the aggregate a liability in excess of $1,000,000, and
       in either case, the same shall not have been vacated, bonded, satisfied or stayed pending
       appeal within thirty (30) days from the date of entry of such judgment;

                                      (xii) if any Borrower Party breaches any covenant,
       warranty or representation contained in any of the Loan Documents beyond any applicable
       notice and cure period, including without limitation, any obligation of Guarantor under the
       Guaranty, or if any Borrower Party shall for any reason contest, repudiate or purport to
       revoke any Loan Document;

                                      (xiii) if any Major Milestone has not been timely satisfied
       as provided in the definition of “Major Milestones”;

                                      (xiv) if Key Man ceases to (A) be actively involved in the
       Project and the day to day operation and management thereof, or (B) directly or indirectly
       Control Borrower, Construction Manager or the operation and development of the Project;
       except that, only in the case of death or incapacity of Key Man, such failure shall not
       constitute an Event of Default if within twenty (20) days of such death or incapacity, an
       individual is appointed as the replacement for Key Man (which such individual shall
       satisfy the provisions of this Agreement applicable to Key Man, other than any specific
       ownership requirement) subject to the prior written approval of Agent in its sole but
       reasonable discretion;

                                      (xv) if any draw request is fraudulently submitted by
       Borrower or in connection with any Advance for services performed or for materials used
       in or furnished for the Property;

                                    (xvi) if, following the commencement of construction of
       the Project Improvements, there is any cessation at any time in construction of the Project
       Improvements for more than fifteen (15) consecutive Business Days after notice thereof
       and a failure to resume construction within such period, other than as a result of Force
       Majeure;


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                                       (xvii) if Borrower expressly confesses in writing to Agent
       or Lender its inability to continue or complete construction of the Project Improvements in
       accordance with the Building Loan Agreement;

                                      (xviii) if Agent, the Construction Consultant or either of
       their representatives are not permitted at all reasonable times upon not less than one (1)
       Business Days’ notice to enter upon the Property in violation of this Agreement to inspect
       the Improvements and the construction thereof and all materials, fixtures and articles used
       or to be used in the construction and to examine all the Plans and Specifications, or if
       Borrower shall fail to furnish to Agent or its authorized representative, when requested
       upon not less than three (3) Business Days’ notice, copies of the Plans and Specifications
       and any other information required to be delivered to Agent pursuant to the Loan
       Documents, to the extent in any Borrower Related Party’s possession or control;

                                    (xix) the occurrence of any event or circumstance set forth
       herein or in any other Loan Document that is stated to be an Event of Default;

                                       (xx) if the Property shall be taken (other than as a result of
       a Condemnation in accordance with the Building Loan Agreement), attached, sequestered
       on execution or other process of law in any action against Borrower; and such action is not
       stayed or bonded over in a manner acceptable to Agent within ten (10) Business Days
       thereof, or is not capable of being bonded over or stayed in a manner acceptable to Agent;

                                      (xxi)   [Intentionally omitted];

                                     (xxii) if Borrower shall be in default under and as defined
       in any Condominium Document and such default remains uncured beyond any applicable
       notice or cure period provided for in such Condominium Documents;

                                       (xxiii) if any Governmental Approval is withdrawn,
       suspended or cancelled, terminated or modified to the detriment of Borrower (including,
       without limitation, if at any time the DOL or any other applicable Governmental Authority
       prohibits, or requires Borrower to discontinue or cease, the sales of Units for any reason),
       the Property or the construction of any of the Project Improvements or any stop work order
       is issued, unless Borrower restates and confirms in all respects such Governmental
       Approval or terminates such stop work order within a period of twenty (20) Business Days
       thereafter;

                                       (xxiv) if any Loan Documents shall fail to be in full force
       and effect to give Agent or Lender the Liens, rights, powers and privileges purported to be
       created thereby, or if any Borrower Party shall assert that any Loan Document is not in full
       force and effect or fails to give Agent or Lender the Liens, rights, powers and privileges
       purported to be created thereby;

                                     (xxv) if Borrower shall continue to be in Default under any
       of the other terms, covenants or conditions of this Agreement not specified in subsections
       (i) through (xxiv) above or subsections (xxvi) through (xxviii) below, for ten (10) days

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       after notice to Borrower from Agent, in the case of any Default which can be cured by the
       payment of a sum of money, or for thirty (30) days after notice from Agent in the case of
       any other Default; provided, however, that if such non-monetary Default is susceptible of
       cure but cannot reasonably be cured within such thirty (30) day period and provided,
       further, that Borrower shall have commenced to cure such Default within such thirty (30)
       day period and thereafter diligently and expeditiously proceeds to cure the same, such
       thirty (30) day period shall be extended for such time as is reasonably necessary for
       Borrower in the exercise of due diligence to cure such Default, such additional period not
       to exceed seventy-five (75) days; or

                                      (xxvi) if there shall be a default by any Borrower Party or
       any other Affiliate of Borrower under any of the other Loan Documents, beyond applicable
       cure periods, if any, contained in such Loan Documents;

                                     (xxvii) Borrower fails to comply with any of the terms,
       covenants or conditions of Section 9.2 of the Building Loan Agreement after expiration of
       ten (10) Business Days after notice thereof from Agent; or

                                  (xxviii) if there shall be a default by Guarantor of its
       covenants under the Guaranty, beyond applicable cure periods, if any, contained in the
       Guaranty.

                         (b)    Upon the occurrence of an Event of Default and at any time
thereafter, in addition to any other rights or remedies available to it pursuant to this Agreement and
the other Loan Documents or at law or in equity, Agent may take such action, without notice or
demand, that Agent deems advisable to protect and enforce the rights of Agent and Lender against
Borrower and the Property, including, without limitation, declaring the Total Debt to be
immediately due and payable, and Agent may enforce or avail itself of any or all rights or remedies
provided in the Loan Documents against Borrower and any or all of the Property and/or the
Collateral, including, without limitation, all rights or remedies available at law or in equity; and
upon any Event of Default described in clauses (vi) or (vii) above, the Total Debt and Other
Obligations of Borrower hereunder and under the other Loan Documents shall immediately and
automatically become due and payable, without notice or demand, and Borrower hereby expressly
waives any such notice or demand, anything contained herein or in any other Loan Document to
the contrary notwithstanding.

       Section 8.2     Remedies.

                       (a)      Upon the occurrence of and during the continuance of an Event of
Default, all or any one or more of the rights, powers, privileges and other remedies available to
Agent against Borrower under this Agreement or any of the other Loan Documents executed and
delivered by, or applicable to, Borrower or at law or in equity may be exercised by Agent at any
time and from time to time, whether or not all or any of the Total Debt shall be declared due and
payable, and whether or not Agent shall have commenced any foreclosure proceeding or other
action for the enforcement of its rights and remedies under any of the Loan Documents with
respect to all or any part of the Property and/or the Collateral. Any such actions taken by Agent
shall be cumulative and concurrent and may be pursued independently, singularly, successively,

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together or otherwise, at such time and in such order as Agent may determine in its sole discretion,
to the fullest extent permitted by law, without impairing or otherwise affecting the other rights and
remedies of Agent and Lender permitted by law, equity or contract or as set forth herein or in the
other Loan Documents. Without limiting the generality of the foregoing, Borrower agrees that if
an Event of Default is continuing (i) Agent is not subject to any “one action” or “election of
remedies” law or rule, and (ii) all liens and other rights, remedies or privileges provided to Agent
shall remain in full force and effect until Agent has exhausted all of its remedies against the
Property and/or the Collateral and the Mortgage has been foreclosed, sold and/or otherwise
realized upon in satisfaction of the Total Debt or the Total Debt has been paid in full.

                        (b)     With respect to Borrower, the Property and the Collateral, nothing
contained herein or in any other Loan Document shall be construed as requiring Agent to resort to
the Property or the Collateral for the satisfaction of any of the Total Debt in any preference or
priority, and Agent may seek satisfaction out of the Property and/or the Collateral, or any part
thereof, in its absolute discretion in respect of the Total Debt. In addition, Agent shall have the
right from time to time following an Event of Default to partially foreclose the Mortgage or any
Pledge in any manner and for any amounts secured by the Mortgage and/or the Pledge Agreements
then due and payable as determined by Agent in its sole discretion including, without limitation,
the following circumstances: (i) in the event Borrower Defaults in the payment of one or more
scheduled payments of principal and interest, Agent may foreclose the Mortgage and/or the Pledge
Agreement to recover such delinquent payments or (ii) in the event Agent elects to accelerate less
than the entire Outstanding Principal Balance of the Loan, Agent may foreclose the Mortgage
and/or the Pledge Agreement to recover so much of the principal balance of the Loan as Agent
may accelerate and such other sums secured by the Mortgage and/or the Pledge Agreement as
Agent may elect. Notwithstanding one or more partial foreclosures, the Property and the Collateral
shall remain subject to the Mortgage and the Pledge Agreements, as applicable, to secure payment
of sums secured by the Mortgage and/or the Pledge Agreement, and not previously recovered.

                      (c)       In addition to all remedies conferred it by law and by the terms of
this Agreement and the other Loan Documents, upon the occurrence and during the existence of an
Event of Default, Agent (for the benefit of Lender) may pursue any one or more of the following
remedies concurrently or successively, it being the intent hereof that none of such remedies shall
be to the exclusion of any other, and with full rights to reimbursement from Borrower and any
Guarantor:

                                       (i)    take possession of the Property and complete any
       construction work at the Property, including, without limitation, the right to avail itself of
       and procure performance of existing contracts or let any contracts with the same
       contractors or others and to employ watchmen to protect the Property from injury. Without
       restricting the generality of the foregoing and for the purposes aforesaid to be exercised
       during the existence and continuance of an Event of Default, Borrower hereby appoints
       and constitutes Agent (for the benefit of Lender) its lawful attorney-in-fact with full power
       of substitution to complete any construction work at the Property in the name of Borrower;

                                   (ii)    except as set forth herein, use Reserve Funds to
       complete any construction work at the Property;

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                                   (iii) enter into Change Orders which shall be necessary or
       desirable to complete any construction work at the Property in substantially the manner
       contemplated by such Plans and Specifications;

                                       (iv)    retain or employ new general contractors,
       subcontractors, architects, engineers and inspectors as shall be required for said purposes;
       to pay, settle or compromise all existing bills and claims which may be liens or security
       interests, or to avoid such bills and claims becoming liens against the Property, or as may
       be necessary or desirable for the completion of any construction work at the Property or for
       the clearance of title to the Property;

                                  (v)     execute all applications and certificates in the name
       of Borrower which may be required by any of the contract documents;

                                    (vi)   prosecute and defend all actions or proceedings in
       connection with any construction work at the Property; and

                                     (vii) take any action and require such performance as it
       deems necessary to be furnished hereunder and to make settlements and compromises with
       the surety or sureties thereunder, and in connection therewith, to execute instruments of
       release and satisfaction.

        Section 8.3 Remedies Cumulative; Waivers. The rights, powers and remedies of
Agent and Lender under this Agreement shall be cumulative and not exclusive of any other right,
power or remedy which Agent or Lender may have against Borrower pursuant to this Agreement
or the other Loan Documents, or existing at law or in equity or otherwise. Agent’s and Lender’s
rights, powers and remedies may be pursued singularly, concurrently or otherwise, at such time
and in such order as Agent may determine in Agent’s sole discretion. No delay or omission to
exercise any remedy, right or power accruing upon an Event of Default shall impair any such
remedy, right or power or shall be construed as a waiver thereof, but any such remedy, right or
power may be exercised from time to time and as often as may be deemed expedient. A waiver of
one Default or Event of Default with respect to Borrower shall not be construed to be a waiver of
any subsequent Default or Event of Default by Borrower or to impair any remedy, right or power
consequent thereon.

                                     ARTICLE IX

                               SPECIAL PROVISIONS

        Section 9.1 Incorporation of Building Loan Agreement. Article IX of the Building
Loan Agreement, and all accompanying definitions, schedules and exhibits, is hereby incorporated
herein by reference as if fully set forth herein.




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                                       ARTICLE X

                                   MISCELLANEOUS

       Section 10.1 Survival. This Agreement and all covenants, agreements, representations
and warranties made herein and in the certificates delivered pursuant hereto shall survive the
making by Lender of the Loan and the execution and delivery to Lender of the Note, and shall
continue in full force and effect so long as all or any of the Obligations are outstanding and unpaid
unless a longer period is set forth herein or in the other Loan Documents. Whenever in this
Agreement any of the parties hereto is referred to, such reference shall be deemed to include the
legal representatives, successors and assigns of such party. All covenants, promises and
agreements in this Agreement, by or on behalf of Borrower, shall inure to the benefit of the legal
representatives, successors and assigns of Agent and Lender.

       Section 10.2 Agent’s and Lender’s Discretion. Whenever pursuant to this Agreement,
Agent or Lender exercises any right given to it to approve or disapprove, or any arrangement or
term is to be satisfactory to Agent or Lender, the decision of Agent or Lender to approve or
disapprove or to decide whether arrangements or terms are satisfactory or not satisfactory shall
(except as is otherwise expressly otherwise herein provided) be in the sole and absolute discretion
of Agent or Lender and shall be final and conclusive. All consents or approvals of Agent or
Lender given by Agent or Lender pursuant to the Loan Documents shall not be deemed to have
given by Agent or Lender unless such consent or approval is in writing. Whenever pursuant to this
Agreement or any other Loan Document, Agent or Lender are required to be reasonable in making
any determination or granting any consent or approval, such qualification of reasonability shall be
disregarded at any time that an Event of Default has occurred and is continuing.

       Section 10.3 Governing Law.

           (A)  THIS AGREEMENT WAS NEGOTIATED IN THE STATE OF NEW
YORK, THE LOAN WAS MADE BY LENDER AND ACCEPTED BY BORROWER IN THE
STATE OF NEW YORK, AND THE PROCEEDS OF THE LOAN DELIVERED PURSUANT
HERETO WERE DISBURSED FROM THE STATE OF NEW YORK, WHICH STATE THE
PARTIES AGREE HAS A SUBSTANTIAL RELATIONSHIP TO THE PARTIES AND TO
THE UNDERLYING TRANSACTION EMBODIED HEREBY, AND IN ALL RESPECTS,
INCLUDING, WITHOUT LIMITING THE GENERALITY OF THE FOREGOING, MATTERS
OF CONSTRUCTION, VALIDITY AND PERFORMANCE, THIS AGREEMENT, THE NOTE
AND THE OTHER LOAN DOCUMENTS AND THE OBLIGATIONS ARISING
HEREUNDER AND THEREUNDER SHALL BE GOVERNED BY, AND CONSTRUED IN
ACCORDANCE WITH, THE LAWS OF THE STATE OF NEW YORK APPLICABLE TO
CONTRACTS MADE AND PERFORMED IN SUCH STATE (WITHOUT REGARD TO
PRINCIPLES OF CONFLICTS OF LAWS) AND ANY APPLICABLE LAW OF THE UNITED
STATES OF AMERICA, EXCEPT THAT AT ALL TIMES THE PROVISIONS FOR THE
CREATION, PERFECTION, AND ENFORCEMENT OF THE LIEN AND SECURITY
INTEREST CREATED PURSUANT HERETO AND PURSUANT TO THE OTHER LOAN
DOCUMENTS SHALL BE GOVERNED BY AND CONSTRUED ACCORDING TO THE
LAW OF THE STATE IN WHICH THE PROPERTY IS LOCATED, IT BEING

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UNDERSTOOD THAT, TO THE FULLEST EXTENT PERMITTED BY THE LAW OF SUCH
STATE, THE LAW OF THE STATE OF NEW YORK SHALL GOVERN THE
CONSTRUCTION, VALIDITY AND ENFORCEABILITY OF ALL LOAN DOCUMENTS
AND ALL OF THE OBLIGATIONS ARISING HEREUNDER OR THEREUNDER. TO THE
FULLEST EXTENT PERMITTED BY LAW, BORROWER, AGENT AND LENDER HEREBY
UNCONDITIONALLY AND IRREVOCABLY WAIVE ANY CLAIM TO ASSERT THAT
THE LAW OF ANY OTHER JURISDICTION GOVERNS THIS AGREEMENT, THE NOTE
AND THE OTHER LOAN DOCUMENTS, AND THIS AGREEMENT, THE NOTE AND THE
OTHER LOAN DOCUMENTS SHALL BE GOVERNED BY AND CONSTRUED IN
ACCORDANCE WITH THE LAWS OF THE STATE OF NEW YORK PURSUANT TO
SECTION 5-1401 OF THE NEW YORK GENERAL OBLIGATIONS LAW.

            (B)   ANY LEGAL SUIT, ACTION OR PROCEEDING AGAINST AGENT,
LENDER OR BORROWER ARISING OUT OF OR RELATING TO THIS AGREEMENT OR
THE OTHER LOAN DOCUMENTS MAY AT AGENT’S OPTION BE INSTITUTED IN ANY
FEDERAL OR STATE COURT IN THE CITY OF NEW YORK, COUNTY OF NEW YORK,
PURSUANT TO SECTION 5-1402 OF THE NEW YORK GENERAL OBLIGATIONS LAW
AND BORROWER, AGENT AND LENDER WAIVE ANY OBJECTIONS WHICH IT MAY
NOW OR HEREAFTER HAVE BASED ON VENUE AND/OR FORUM NON CONVENIENS
OF ANY SUCH SUIT, ACTION OR PROCEEDING, AND BORROWER, AGENT AND
LENDER HEREBY IRREVOCABLY SUBMIT TO THE EXCLUSIVE JURISDICTION OF
ANY SUCH COURT IN ANY SUIT, ACTION OR PROCEEDING. BORROWER AGREES
THAT SERVICE OF PROCESS UPON BORROWER AT THE ADDRESS SET FORTH
HEREIN AND WRITTEN NOTICE OF SAID SERVICE MAILED OR DELIVERED TO
BORROWER IN THE MANNER PROVIDED HEREIN WITH COPIES TO BORROWER’S
COUNSEL AT ITS ADDRESS SET FORTH BELOW SHALL BE DEEMED IN EVERY
RESPECT EFFECTIVE SERVICE OF PROCESS UPON BORROWER IN ANY SUCH SUIT,
ACTION OR PROCEEDING IN THE STATE OF NEW YORK. BORROWER (I) SHALL
GIVE PROMPT NOTICE TO AGENT OF ANY CHANGE IN THE ADDRESS FOR
BORROWER SET FORTH HEREIN, (II) MAY AT ANY TIME AND FROM TIME TO TIME
DESIGNATE AN AUTHORIZED AGENT WITH AN OFFICE IN NEW YORK, NEW YORK,
AND (III) SHALL PROMPTLY DESIGNATE AN AUTHORIZED AGENT IF BORROWER
CEASES TO HAVE AN OFFICE IN NEW YORK, NEW YORK. NOTHING CONTAINED
HEREIN SHALL AFFECT THE RIGHT OF AGENT OR LENDER TO SERVE PROCESS IN
ANY OTHER MANNER PERMITTED BY LAW.

        Section 10.4 Modification, Waiver in Writing. No modification, amendment,
extension, discharge, termination or waiver of any provision of this Agreement, or of the Note, or
of any other Loan Document, nor consent to any departure by Borrower therefrom, shall in any
event be effective unless the same shall be in a writing signed by the party against whom
enforcement is sought, and then such waiver or consent shall be effective only in the specific
instance, and for the purpose, for which given. Except as otherwise expressly provided herein, no
notice to, or demand on Borrower, shall entitle Borrower to any other or future notice or demand in
the same, similar or other circumstances.



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        Section 10.5 Delay Not a Waiver. Neither any failure nor any delay on the part of
Agent or Lender in insisting upon strict performance of any term, condition, covenant or
agreement, or exercising any right, power, remedy or privilege hereunder, or under the Note or
under any other Loan Document, or any other instrument given as security therefor, shall operate
as or constitute a waiver thereof, nor shall a single or partial exercise thereof preclude any other
future exercise, or the exercise of any other right, power, remedy or privilege. In particular, and
not by way of limitation, by accepting payment after the due date of any amount payable under this
Agreement, the Note or any other Loan Document, Agent and Lender shall not be deemed to have
waived any right either to require prompt payment when due of all other amounts due under this
Agreement, the Note or the other Loan Documents, or to declare a default for failure to effect
prompt payment of any such other amount.

        Section 10.6 Notices. All notices, demands, requests, consents, approvals or other
communications (any of the foregoing, a “Notice”) required, permitted or desired to be given
hereunder shall be in writing and shall be (i) delivered by hand (with signed acknowledgement of
receipt by the designated recipient) or (ii) by reputable overnight courier, addressed to the party to
be so notified at its address hereinafter set forth, or to such other address as such party may
hereafter specify in accordance with the provisions of this Section 10.6. Notwithstanding the
foregoing, any ordinary course communications related to the loan, including requests for leasing
approvals and delivery of financial reporting (but not any request for other consent or modification
of the Loan) may be delivered by electronic mail, provided that the subject line of such electronic
mail correspondence begins with the following words in all capital letters: “MESSAGE
CONTAINS WRITTEN NOTICE UNDER LOAN DOCUMENTS,” and provided further that
such notice shall not be deemed given if the sender of the same receives a reply indicating that the
message was not delivered to any of its intended recipients. Any Notice shall be deemed to have
been received: (a) on the next Business Day if sent by an overnight commercial courier and (b) on
the date of delivery by hand if delivered and acknowledged during business hours of a Business
Day, and in each case addressed to the parties as follows:

       If to Agent:            Deutsche Bank AG New York Branch
                               60 Wall Street, 10th Floor
                               New York, NY 10005
                               Attention: Ian McColough
                               Facsimile No. (212) 797-4489
                               Email: ian.mccolough@db.com

       with a copy to:         Gibson Dunn & Crutcher LLP
                               200 Park Avenue
                               New York, NY 10166
                               Attention: Eric M. Feuerstein, Esq.
                               Facsimile No. (212) 351-5223
                               Email: efeuerstein@gibsondunn.com




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       with a copy to:        Hanover Street Capital, LLC
                              48 Wall Street, 14th Floor
                              New York, NY 10005
                              Attention: Amy Sinensky
                              Facsimile No. 212-380-9405
                              Email: amy.sinensky@hanoverstcap.com

       If to Lender:          German American Capital Corporation
                              60 Wall Street, 10th Floor
                              New York, NY 10005
                              Attention: Ian McColough
                              Facsimile No. 212-797-4489
                              Email: ian.mccolough@db.com

       with a copy to:        Gibson Dunn & Crutcher LLP
                              200 Park Avenue
                              New York, NY 10166
                              Attention: Eric M. Feuerstein, Esq.
                              Facsimile No. (212) 351-5223
                              Email: efeuerstein@gibsondunn.com

       with a copy to:        Hanover Street Capital, LLC
                              48 Wall Street, 14th Floor
                              New York, NY 10005
                              Attention: Amy Sinensky
                              Facsimile No. 212-380-9405
                              Email: amy.sinensky@hanoverstcap.com

       If to Borrower:        135 West 52nd Street Owner LLC
                              c/o The Chetrit Group, LLC
                              512 Seventh Avenue
                              New York, NY 10018
                              Attention: Meyer Chetrit
                              Facsimile No. (646) 230-9372
                              Email: mc@chetritgroup.com

       with a copy to:        David Bistricer
                              4611 Twelfth Avenue
                              Apartment 1L
                              Brooklyn, NY 11219
                              Facsimile No. 718-435-3848
                              Email: david@clipperequity.com

       with a copy to:        Sukenik, Segal & Graff, P.C.
                              404 Fifth Avenue, Fifth Floor
                              New York, N.Y. 10018

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                               Attention: Josh Graff, Esq.
                               Facsimile No. (212) 779-8095
                               Email: jgraff@ssglaw.com

Any party may change the address to which any such Notice is to be delivered by furnishing ten
(10) days’ written notice of such change to the other parties in accordance with the provisions of
this Section 10.6. Notices shall be deemed to have been given on the date set forth above, even if
there is an inability to actually deliver any Notice because of a changed address of which no Notice
was given or there is a rejection or refusal to accept any Notice offered for delivery. Notice for any
party may be given by its respective counsel. Additionally, Notice from Agent may also be given
by Servicer.

      Section 10.7 Trial by Jury. BORROWER, AGENT AND LENDER HEREBY
AGREE NOT TO ELECT A TRIAL BY JURY OF ANY ISSUE TRIABLE OF RIGHT BY
JURY, AND WAIVES ANY RIGHT TO TRIAL BY JURY FULLY TO THE EXTENT THAT
ANY SUCH RIGHT SHALL NOW OR HEREAFTER EXIST WITH REGARD TO THE LOAN
DOCUMENTS, OR ANY CLAIM, COUNTERCLAIM OR OTHER ACTION ARISING IN
CONNECTION THEREWITH. THIS WAIVER OF RIGHT TO TRIAL BY JURY IS GIVEN
KNOWINGLY AND VOLUNTARILY BY BORROWER, AGENT AND LENDER, AND IS
INTENDED TO ENCOMPASS INDIVIDUALLY EACH INSTANCE AND EACH ISSUE AS
TO WHICH THE RIGHT TO A TRIAL BY JURY WOULD OTHERWISE ACCRUE. AGENT
IS HEREBY AUTHORIZED TO FILE A COPY OF THIS PARAGRAPH IN ANY
PROCEEDING AS CONCLUSIVE EVIDENCE OF THIS WAIVER BY BORROWER.

        Section 10.8 Headings. The Article and/or Section headings and the Table of Contents
in this Agreement are included herein for convenience of reference only, shall in no way affect the
interpretation of this Agreement and shall not constitute a part of this Agreement for any other
purpose.

        Section 10.9 Severability. Wherever possible, each provision of this Agreement shall be
interpreted in such manner as to be effective and valid under applicable law, but if any provision of
this Agreement shall be prohibited by or invalid under applicable law, such provision shall be
ineffective to the extent of such prohibition or invalidity, without invalidating the remainder of
such provision or the remaining provisions of this Agreement.

        Section 10.10 Preferences. Agent and Lender shall have the continuing and exclusive
right to apply or reverse and reapply any and all payments by Borrower to any portion of the
obligations of Borrower hereunder in accordance with this Agreement. To the extent Borrower
makes a payment or payments to Agent or Lender, which payment or proceeds or any part thereof
are subsequently invalidated, declared to be fraudulent or preferential, set aside or required to be
repaid to a trustee, receiver or any other party under any bankruptcy law, state or federal law,
common law or equitable cause, then, to the extent of such payment or proceeds received, the
obligations hereunder or part thereof intended to be satisfied shall be revived and continue in full
force and effect, as if such payment or proceeds had not been received by Agent or Lender.

       Section 10.11 Waiver of Notice. Borrower shall not be entitled to any notices of any
nature whatsoever from Agent or Lender except with respect to matters for which this Agreement

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or the other Loan Documents specifically and expressly provide for the giving of notice by Agent
to Borrower and except with respect to matters for which Borrower is not, pursuant to applicable
Legal Requirements, permitted to waive the giving of notice. Borrower hereby expressly waives
the right to receive any notice from Agent or Lender with respect to any matter for which this
Agreement or the other Loan Documents do not specifically and expressly provide for the giving
of notice by Agent to Borrower.

        Section 10.12 Remedies of Borrower. In the event that a claim or adjudication is made
that Agent or Lender or its agents have acted unreasonably or unreasonably delayed acting in any
case where by law or under this Agreement or the other Loan Documents, Agent, Lender or such
agent, as the case may be, has an obligation to act reasonably or promptly, Borrower agrees that
neither Agent, Lender nor its agents shall be liable for any monetary damages, and Borrower’s sole
remedies shall be limited to commencing an action seeking injunctive relief or declaratory
judgment. The parties hereto agree that any action or proceeding to determine whether Agent or
Lender has acted reasonably shall be determined by an action seeking declaratory judgment.

       Section 10.13 Expenses; Indemnity.

                        (a)     Borrower covenants and agrees to pay or, if Borrower fails to pay, to
reimburse, Agent upon receipt of written notice from Agent for all actual out-of-pocket costs and
expenses (including, without limitation, reasonable attorneys’ fees and disbursements) incurred by
Agent, Lender or their Affiliates in connection with (i) the preparation, negotiation, execution and
delivery of this Agreement and the other Loan Documents and the consummation of the
transactions contemplated hereby and thereby and all the costs of furnishing all opinions by
counsel for Borrower (including without limitation any opinions requested by Agent or Lender as
to any legal matters arising under this Agreement or the other Loan Documents with respect to the
Property and/or the Collateral), including without limitation, any and all diligence costs, legal fees,
consultant costs, accounting fees, costs of obtaining third party reports and underwriting costs; (ii)
Borrower’s ongoing performance of and compliance with Borrower’s respective agreements and
covenants contained in this Agreement and the other Loan Documents on its part to be performed
or complied with after the date of this Agreement, including, without limitation, confirming
compliance with environmental and insurance requirements; (iii) Agent, Lender, Construction
Consultant and Servicer’s ongoing performance and compliance with all agreements and
conditions contained in this Agreement and the other Loan Documents on its part to be performed
or complied with; (iv) the negotiation, preparation, execution, delivery and administration of any
consents, amendments, waivers or other modifications to this Agreement and the other Loan
Documents and any other documents or matters requested by Agent or Lender; (v) securing
Borrower’s compliance with any requests made in accordance with provisions of this Agreement;
(vi) the filing and recording fees and expenses, title insurance, and other similar expenses incurred
in creating and perfecting the Lien in favor of Agent pursuant to this Agreement and the other
Loan Documents; (vii) the costs of any appraisal of the Property obtained by or on behalf of Agent
and/or Lender; (viii) enforcing or preserving any rights, in response to third party claims or the
prosecuting or defending of any action or proceeding or other litigation, in each case against, under
or affecting Borrower, this Agreement, the other Loan Documents, the Property, the Collateral, or
any other security given for the Loan; and (ix) enforcing any obligations of or collecting any
payments due from Borrower under this Agreement, the other Loan Documents or with respect to

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the Property and/or the Collateral (including any fees incurred by Servicer in connection with the
transfer of the Loan to a special servicer prior to a Default or Event of Default) or in connection
with any refinancing or restructuring of the credit arrangements provided under this Agreement in
the nature of a “work-out” or of any insolvency or bankruptcy proceedings; provided, however,
that Borrower shall not be liable for the payment of any such costs and expenses to the extent the
same arise by reason of the illegal acts, fraud or willful misconduct of Agent or Lender.

                        (b)      Borrower shall indemnify, defend and hold harmless Agent, Lender,
Construction Consultant, Servicer, their direct or indirect constituent owners, each of their
respective Affiliates, and each of their respective successors, assigns, employees, agents, officers,
directors, shareholders and members (each, an “Indemnified Party” and together, the
“Indemnified Parties”) from and against any and all other liabilities, obligations, actual losses,
actual damages, penalties, actions, judgments, suits, claims, costs, expenses and disbursements of
any kind or nature whatsoever (including, without limitation, the reasonable fees and
disbursements of counsel for Agent or Lender in connection with any investigative, administrative
or judicial proceeding commenced or threatened, whether or not such Indemnified Party shall be
designated a party thereto), that may be imposed on, incurred by, or asserted against such
Indemnified Party in any manner relating to or arising out of (i) any breach by Borrower of its
Obligations under, or any misrepresentation by Borrower contained in, this Agreement or the other
Loan Documents, (ii) the use or intended use of the proceeds of the Loan, (iii) any information
provided by or on behalf of Borrower, or contained in any documentation approved by Borrower;
(iv) ownership of the Mortgage, the Pledge Agreements, the Property, the Collateral or any interest
in any of the foregoing, or receipt of any Net Sales Proceeds, Rents or other Gross Revenue; (v)
any accident, injury to or death of persons or loss of or damage to property occurring in, on or
about the Property or on the adjoining sidewalks, curbs, adjacent property or adjacent parking
areas, streets or ways; (vi) any use, nonuse or condition in, on or about the Property or on adjoining
sidewalks, curbs, adjacent property or adjacent parking areas, streets or ways; (vii) performance of
any labor or services or the furnishing of any materials or other property in respect of the Property,
including without limitation, the construction of the Project; (viii) any failure of the Property to
comply with any Legal Requirement; (ix) any claim by brokers, finders or similar persons
claiming to be entitled to a commission in connection with any Lease, sale of a Unit or other
transaction involving the Property or any part thereof, or any liability asserted against Agent or
Lender with respect thereto; (x) the claims of any lessee of any portion of the Property or any
Person acting through or under any lessee or otherwise arising under or as a consequence of any
Lease; (xi) any and all claims of any Unit owner or proposed purchaser or lessee of a Unit or any
Person acting through or under any such owner or proposed purchaser or lessee; and (xii) any
failure to pay any permit and application fees, violations, fines and/or any other penalty incurred in
connection with ownership, use, leasing and/or development of the Property (collectively, the
“Indemnified Liabilities”); provided, however, that Borrower shall not have any obligation to
any such Indemnified Party hereunder to the extent that such Indemnified Liabilities arise from the
illegal acts, fraud or willful misconduct of such Indemnified Party. To the extent that the
undertaking to indemnify, defend and hold harmless set forth in the preceding sentence may be
unenforceable because it violates any law or public policy, Borrower shall pay the maximum
portion that it is permitted to pay and satisfy under applicable law to the payment and satisfaction
of all Indemnified Liabilities incurred by each Indemnified Party.


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        Section 10.14 Schedules Incorporated. The Schedules annexed hereto are hereby
incorporated herein as a part of this Agreement with the same effect as if set forth in the body
hereof.

        Section 10.15 Offsets, Counterclaims and Defenses. Any assignee of Agent’s or
Lender’s interest in and to this Agreement, the Note and the other Loan Documents shall take the
same free and clear of all offsets, counterclaims or defenses which are unrelated to such documents
which Borrower may otherwise have against any assignor of such documents, and no such
unrelated counterclaim or defense shall be interposed or asserted by Borrower in any action or
proceeding brought by any such assignee upon such documents and any such right to interpose or
assert any such unrelated offset, counterclaim or defense in any such action or proceeding is
hereby expressly waived by Borrower.

       Section 10.16 No Joint Venture or Partnership; No Third Party Beneficiaries.

                        (a)     Borrower, Agent and Lender intend that the relationships created
hereunder and under the other Loan Documents be solely that of borrower and lender. Nothing
herein or therein is intended to create a joint venture, partnership, tenancy-in-common, or joint
tenancy relationship between Borrower, Agent and Lender nor to grant Agent or Lender any
interest in the Property other than that of mortgagee, beneficiary or lender.

                         (b)     This Agreement and the other Loan Documents are solely for the
benefit of Agent, Lender and Borrower and nothing contained in this Agreement or the other Loan
Documents shall be deemed to confer upon anyone other than Agent, Lender and Borrower any
right to insist upon or to enforce the performance or observance of any of the obligations contained
herein or therein. All conditions to the obligations of Lender to make the Loan hereunder are
imposed solely and exclusively for the benefit of Agent and Lender and no other Person shall have
standing to require satisfaction of such conditions in accordance with their terms or be entitled to
assume that Lender will refuse to make the Loan in the absence of strict compliance with any or all
thereof and no other Person shall under any circumstances be deemed to be a beneficiary of such
conditions, any or all of which may be freely waived in whole or in part by Agent or Lender if, in
Agent’s or Lender’s sole discretion, Agent or Lender deems it advisable or desirable to do so.

        Section 10.17 Publicity. All news releases, publicity or advertising by Borrower or its
Affiliates through any media intended to reach the general public which refers to the Loan
Documents or the financing evidenced by the Loan Documents, to Agent, Lender or any of their
Affiliates shall be subject to the prior written approval of Agent. Agent and Lender shall have the
right to have a sign at the Property in a form acceptable to Agent stating that Agent, Lender and
their Affiliates are providing financing for the Project and including Agent’s, Lender’s or their
Affiliates logos.

       Section 10.18 Waiver of Marshalling of Assets. To the fullest extent permitted by law,
Borrower, for itself and its successors and assigns, waives all rights to a marshaling of the assets of
Borrower, Borrower’s partners and others with interests in Borrower, and of the Property, and
agrees not to assert any right under any laws pertaining to the marshaling of assets, the sale in
inverse order of alienation, homestead exemption, the administration of estates of decedents, or
any other matters whatsoever to defeat, reduce or affect the rights of Agent or Lender under the

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Loan Documents to a sale of the Property and/or the Collateral for the collection of the Total Debt
without any prior or different resort for collection or of the right of Agent and Lender to the
payment of the Total Debt out of the net proceeds of the Property and/or the Collateral in
preference to every other claimant whatsoever.

       Section 10.19 Waiver of Counterclaim. Borrower hereby waives the right to assert a
counterclaim, other than a compulsory counterclaim, in any action or proceeding brought against it
by Agent, Lender or their agents.

       Section 10.20 Conflict; Construction of Documents; Reliance.

                        (a)      In the event of any conflict between the provisions of this
Agreement and any of the other Loan Documents, the provisions of this Agreement shall control.
The parties hereto acknowledge that they were represented by competent counsel in connection
with the negotiation, drafting and execution of the Loan Documents and that such Loan
Documents shall not be subject to the principle of construing their meaning against the party which
drafted same. Borrower acknowledges that, with respect to the Loan, Borrower shall rely solely on
its own judgment and advisors in entering into the Loan without relying in any manner on any
statements, representations or recommendations of Agent or Lender or any parent, subsidiary or
Affiliate of Agent or Lender. Agent and Lender shall not be subject to any limitation whatsoever
in the exercise of any rights or remedies available to them under any of the Loan Documents or any
other agreements or instruments which govern the Loan by virtue of the ownership by them or any
parent, subsidiary or Affiliate of Agent or Lender of any equity interest any of them may acquire in
Borrower, and Borrower hereby irrevocably waives the right to raise any defense or take any
action on the basis of the foregoing with respect to Agent’s or Lender’s exercise of any such rights
or remedies. Borrower acknowledges that Agent, Lender and their Affiliates engage in the
business of real estate financings and other real estate transactions and investments which may be
viewed as adverse to or competitive with the business of Borrower or its Affiliates.

                         (b)   Notwithstanding anything to the contrary set forth herein, in the
event that Agent’s or Lender’s consent or approval is required to be reasonable or Agent or Lender
is required to not unreasonably withhold, condition or delay their consent hereunder,
notwithstanding any other reason that Agent or Lender may reasonably withhold, condition or
delay its consent or approval, Agent and Lender may reasonably withhold, condition or delay their
consent or approval in the event that (i) the granting of such consent shall have any material
adverse effect on Borrower or the Project, including without limitation Borrower’s ability to
complete the Project in accordance with the Loan Documents or such granting of consent may
result in a decrease in the market value of the Project, (ii) as a result of such consent Borrower will
not be able to achieve Final Completion with such amounts that remain unadvanced to Borrower
under the Loan and will be advanced to Borrower in accordance with the terms and conditions of
the Loan Documents, (iii) such consent will result in any impairment of the Lien, priority or
enforceability of the Mortgage, the Pledge Agreement or the Loan Agreement or the enforceability
of the other Loan Documents, (iv) the action or request that is the subject of such consent will give
purchasers of Units the right to terminate or rescind any Unit Sale Contract, or (v) there exists any
monetary Default, material non-monetary Default or Event of Default.



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       Section 10.21 Brokers and Financial Advisors. Borrower hereby represents that it has
dealt with no financial advisors, brokers, underwriters, placement agents, agents or finders in
connection with the transactions contemplated by this Agreement other than Meridian Capital (the
“Broker”). Borrower hereby agrees to indemnify, defend and hold Agent and Lender harmless
from and against any and all claims, liabilities, costs and expenses of any kind (including Agent’s
and Lender’s attorneys’ fees and expenses) in any way relating to or arising from a claim by any
Person (including Broker) that such Person acted on behalf of Borrower, Agent or Lender in
connection with the transactions contemplated herein and is owed any type of commission, fee,
concession, reimbursement or other compensation. The provisions of this Section 10.21 shall
survive the expiration and termination of this Agreement and the payment and performance of the
Obligations.

       Section 10.22 Prior Agreements. This Agreement and the other Loan Documents
contain the entire agreement of the parties hereto and thereto in respect of the transactions
contemplated hereby and thereby, and all prior agreements among or between such parties,
whether oral or written, are superseded by the terms of this Agreement and the other Loan
Documents.

          Section 10.23 Liability.

                        (a)   If Borrower consists of more than one (1) Person the obligations and
liabilities of each Person comprising Borrower shall be joint and several.

                        (b)   If Lender consists of more than one (1) Person the obligations and
liabilities of each Person comprising Lender shall be several, and not joint.

         Section 10.24 Negation of Implied Right to Cure Events of Default. Notwithstanding
anything contained in this Agreement or any of the other Loan Documents providing that certain
rights, remedies or privileges are only available to Agent or Lender during the “continuance” of an
Event of Default (or words of similar import), Borrower expressly acknowledges and agrees that it
does not have the right to cure an Event of Default once the same has occurred under this
Agreement or any other Loan Document without the consent of Agent, which consent may be
withheld, delayed or denied by Agent in its sole and absolute discretion.

          Section 10.25 Exhibits.

                        (a)    The Building Loan Budget as of the Closing Date is attached as
Exhibit A hereto.

                        (b)    The Project Loan Budget as of the Closing Date is attached as
Exhibit B hereto.

                        (c)    The initial Business Plan as of the Closing Date is attached as
Exhibit C hereto.

                        (d)    The Project Budget as of the Closing Date is attached as Exhibit D
hereto.

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                                     ARTICLE XI

                                       AGENT

        Section 11.1 Incorporation of Building Loan Agreement. Article XI of the Building
Loan Agreement, and all accompanying definitions, schedules and exhibits, is hereby incorporated
herein by reference as if fully set forth herein.



                    [NO FURTHER TEXT CONTINUES ON THIS PAGE]




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        IN WITNESS       WHEREOF, the parties hereto have caused this Agreement t0 be
 duly executed by their duly authorized representatives, all as ofthe day and year first above
 written.




                                         BORROVVER:


                                         135 WEST 52ND           S|()VVNER LLC,
                                         a Delaware limited


                                         By:
                                        Name:           er Chetrit
                                                                  `abili
                                                                      1
                                                                           /
                                                                           c   mpany




                                         Title: President




                                         By:
                                        Name: David Bistricer
                                        Title: Secretary




                             [Signature Page to Project Loan Agreement]
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 STATE OF NEW YORK                  )

                                    ) ss.
 COUNTY OF NEW YORK                 )


         On thm;)   |
                        day of                           in the year   2014 before me, the undersigned, a
 notary public in and for said sta        ,   personally appeared                    Qlq€Jt:(1.'C               ,


 personally known to me or proved to me on the basis of sati factory evidence to be the
 individual whose name is subscribed to the within instrument and acknowledged to me that
 he/she/they executed the    same       in his/her/their capac`ty,  and that by his/her/their signature
 on the instrument, the   individual, or the person               b     of which the individu¥1l§éted,,/
 executed the instrument.                                                                  §@‘.
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 STATE OF NEW YORK                  )
                                                                                                   //’IllH\l\\\

                                    ) ss.
 COUNTY OF NEW YORK                 )



        On the          day of                           in the year 2014 before   me, the undersigned, a
 notary public in and for said     state,     personally appeared                                               ,


 personally known to me or proved to me on the basis of satisfactory evidence to be the
 individual whose name is subscribed to the within instrument and acknowledged to me that
 he/she/they executed the same in his/her/their capacity, and that by his/her/their signature
 on the instrument, the   individual, or the person upon behalf of which the individual acted,
 executed the instrument.


 Notary Public




                                 [Acknowledgmentto Project Loan Agreement]
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        IN WITNESS       WHEREOF, the parties hereto have caused this Agreement to be
 duly executed by their duly authorized representatives, all as ofthe day and year first above
 written.




                                         BORROWER:

                                         135 WEST 52ND STREET              OWNER LLC,
                                         a Delaware limited liability company                    _




                                         By:
                                         Name: Meyer Chetrit
                                         Title: President




                                         By;
                                         Name: David Bistricer
                                         Title: Secretary




                              [Signature Page to Project Loan Agreement]
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 STATE OF NEW YORK                    )

                                      ) ss.
 COUNTY OF NEW YORK                   )



         On the         day of                          inthe year 2014 before me, the undersigned, a
 notary public in and for said       state,   personally appeared                                               ,


 personally   known    to   me    or proved to    me   on the       basis of satisfactory evidence to be the
 individual whose name       is   subscribed to the within instrument and acknowledged to                 me that
 he/she/they executed the         same                    and that by his/her/their signature
                                          in his/her/their capacity,
 on the instrument, the individual, or the person upon behalf of which the individual acted,
 executed the instrument.


                                                Notary Public




 STATE OF NEW YORK                    )

                                      ) ss.

 COUNTY OF NEW YORK                   )


        On the    &}    day of       Gxwxf             in the year 2014 before          me, the undersigned, a
 notary public in and for said       state,   personally appeared               2:%/J   Q»` £4`r\r,/
                                                                                                                ,


 personally known to me or proved to me on the basis of satisfactory evidence to be the
 individual whose name is subscribed to the within instrument and acknowledged to me that
 he/she/they executed the  same in his/her/their capacity, and that by his/her/their signature
 on the instrument, the individual, or the person upon behalf of which the individual acted,
 executed the instrument.                                  Ig
                                                                Q      S`l/L`
                                                       Q


 Notary Public


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                                                                         QHAYA                     York



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                                                                     Commission EXBUBS




                                   [Acknowledgmentto Project Loan Agreement]
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                             EXHIBIT A

                      BUILDING LOAN BUDGET



                             [See attached.]
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                                                                                                         135 West 52nd Street Owner LLC
                                                                                                                  Building Loan
                                                                                                                 Requisition # 16
                                                                                                                    7/31/2014

     A                                                B                                      C                             D                E                    F                 G                                        H
COST CODES                               DESCRIPTION OF WORK                             Company                        Original         Previous             Current            Total          Amount to Buy-           Revised
                                                                                                                        Contract        Cululative            Change           Cumulative       Pending Change           Contract
                                                                                                                         Buyout          Change              this Period        Change              Orders               Amount
                                                                                                                                                                                   4                                  (Forecast Cost)           Paid                   Balance
                                                                                                                           1                2                    3               (2+3)                5                 6 (1+4+5)                7                     8 (6-5)
                                                                                                                                $0.00              $0.00                                    -                     $                     -
A2010b       Basement Excavation                                                                                                   -                  -                                     -        100,000.00   $          100,000.00                        $           100,000.00
B1011a       Concrete Superstructure (incl. Conc. Stairs)- Carbon Strips      Structural Preservation Systems              590,000.00       135,300.00                            135,300.00                      $          725,300.00     $     224,386.80   $           500,913.20
B1011b       Concrete Superstructure (incl. Conc. Stairs)- Concrete Infills     Europa Construction Corp.                  170,000.00        25,000.00                             25,000.00                      $          195,000.00     $      95,850.00   $             99,150.00
B1013a       Structural Steel Framing                                                GMC Contracting                     2,425,000.00       563,656.00                            563,656.00                      $        2,988,656.00     $   1,197,052.40   $          1,791,603.60
B1025        Spray-On Fireproofing                                             Paola Painting & Renovations                250,000.00        38,000.00                             38,000.00                      $          288,000.00     $      80,424.00   $           207,576.00
B2005a       Masonry Façade, Stucco, and Parging                                                                                   -                  -                                     -                     $                     -                      $                   -
B2005b       Masonry Façade, Stucco, and Parging - Local Law 11                     Flagg Waterproofing                    135,000.00           9,000.00                            9,000.00                      $          144,000.00     $            -     $           144,000.00
B2011a       EIFS Exterior Insulation and Finish System                                ACIES Group                         715,000.00                 -                                     -                     $          715,000.00     $            -     $           715,000.00
B2013a       Panels and Siding- Metal Panels, Windows, Louvers, Setbacks       Crowne Architectural Systems              3,150,000.00       (50,000.00)                           (50,000.00)                     $        3,100,000.00     $      10,026.90   $          3,089,973.10
B2013b       Panels and Siding - Stone Panels - Materials                              Stone Sheets                        575,000.00        25,845.00                             25,845.00                      $          600,845.00     $     200,000.00   $           400,845.00
B2013c       Panels and Siding - Stone Panels - Installation                                                                       -                  -                                     -        400,000.00   $          400,000.00     $            -     $           400,000.00
B2019a       Exterior Louvers                                                                                                      -                  -                                     -                     $                     -                      $                   -
B2020a       Balcony Walls (Glass Enclosure) and Handrails                                                                         -                  -                                     -                     $                     -                      $                   -
B2023a       Windows                                                                                                               -                  -                                     -                     $                     -                      $                   -
B2025a       Curtain Walls- Demo & Replace CW                                  Crowne Architectural Systems              5,648,503.00     3,067,421.00                          3,067,421.00         (13,200.00) $         8,702,724.00     $   5,537,753.50   $          3,164,970.50
B2025b       Curtain Walls- at Residential Setbacks                                                                                -                  -                                     -                     $                     -                      $                   -
B2025c       Curtain Walls-7th Floor                                                                                                                                                                              $                     -                      $                   -
B2027a       Storefronts                                                                                                           -                  -                                     -                     $                     -                      $                   -
B2031a       Revolving and Overhead Doors                                                                                          -                  -                                     -        180,000.00   $          180,000.00     $            -     $           180,000.00
B2039a       Other Doors and Entrances                                                                                             -                  -                                     -        263,400.00   $          263,400.00     $            -     $           263,400.00
B3015a       Built-Up and Membrane Roofing                                              City Skyline                       665,000.00        49,240.00                             49,240.00                      $          714,240.00     $     271,124.10   $           443,115.90
B3017a       Roof Specialties and Accessories                                                                                      -                  -                                     -                     $                     -   $            -     $                   -
C1001a       Masonry Partitions                                                Paola Painting & Renovations                335,000.00     2,145,225.00                          2,145,225.00                      $        2,480,225.00     $     419,699.70   $          2,060,525.30
C1007a       Misc. Metals (General)                                                                                                -                  -                                     -                     $                     -   $            -     $                   -
C1011        Finish Carpentry - Kitchen Cabinets (Materials)                          Modulo 3 Corp.                     2,250,000.00                 -                                     -                     $        2,250,000.00     $     514,467.00   $          1,735,533.00
C1011b       Finish Carpentry - Kitchen Cabinets (Installation)                                                            350,000.00                 -                                     -                     $          350,000.00     $            -     $           350,000.00
C1011c       Finish Carpentry - Bathroom Vanities                                        Best Mark                         865,000.00           4,943.00                            4,943.00                      $          869,943.00     $     200,000.00   $           669,943.00
C1011d       Misc. Finish Carpentry and Architectural Woodwork                                                                     -                  -                                     -      2,300,000.00   $        2,300,000.00     $            -     $          2,300,000.00
C1011e       Misc. Finish Carpentry and Architectural Woodwork-Sales Office        WoodMotif Cabinetry                      32,000.00                 -                                     -                     $             32,000.00   $      28,800.00   $              3,200.00
C1011f       Misc. Finish Carpentry and Architectural Woodwork-Sales Office      Best Mark Millwork Corp.                   40,000.00                 -                                     -                     $             40,000.00   $      40,000.00   $                   -
C1011g       Misc. Finish Carpentry and Architectural Woodwork (Furnish)              Dom Industries                       160,000.00                 -                                     -                     $          160,000.00     $      32,000.00   $           128,000.00
C1011h       Misc. Finish Carpentry and Architectural Woodwork (Install)              New Industries                        38,122.00           2,798.00                            2,798.00                      $             40,920.00   $            -     $             40,920.00
C1011J       Finish Carpentry - Installation of Doors/Jambs                                                                                                                                          685,000.00   $          685,000.00     $            -     $           685,000.00
C1011K       Finish Carpentry - Trim                                                                                                                                                                 225,000.00   $          225,000.00     $            -     $           225,000.00
C1013a       Firestopping                                                                                                          -                  -                                     -                     $                     -   $            -     $                   -
C1017a       Drywall                                                                  A&V Drywall Inc.                   4,100,000.00       288,694.00                            288,694.00      (1,510,082.00) $         2,878,612.00     $     959,913.90   $          1,918,698.10
C1017b       Drywall-Kadex Coatings (Ceilings)                                     Horizon Construction                    142,500.00                                                                (75,000.00) $              67,500.00   $            -     $             67,500.00
C1017c       Drywall- Level 5 Finish                                                                                                                                                                 624,720.00   $          624,720.00     $            -     $           624,720.00
C1025a       Interior Windows and Storefronts                                        Quick-Slide Corp                       55,000.00           (2,443.00)                 -       (2,443.00)         (4,675.00) $              47,882.00   $      27,885.60   $             19,996.40
C1029a       Doors, Frames, and Hardware                                                NYC Doors                        1,300,000.00        15,000.00                             15,000.00               1.00   $        1,315,001.00     $     193,430.00   $          1,121,571.00
C1029b       Doors, Frames, and Hardware - Sliding Wall Panels (Furnish)              Dom Industries                       545,490.00                 -                                     -                     $          545,490.00     $     109,098.00   $           436,392.00
C1029c       Doors, Frames, and Hardware - Sliding Wall Panels (Install)              New Industries                        99,510.00                 -                                     -                     $             99,510.00   $      14,510.00   $             85,000.00
C1039a       Information Specialties (Signage)                                                                                     -                  -                                     -        113,870.00   $          113,870.00     $            -     $           113,870.00
C1047a       Toilet, Bath, and Laundry Accessories                                                                                 -                  -                                     -        359,086.00   $          359,086.00     $            -     $           359,086.00
C1048A       Glass Shower Doors & Toilet Closets                                                                                                                                            -        700,500.00   $          700,500.00     $            -     $           700,500.00
C1049a       Fireplaces on 7th Floor and Penthouse                                                                                                                                          -        100,000.00   $          100,000.00     $            -     $           100,000.00
C1055a       Postal Specialties                                                                                                    -                  -                                     -         21,800.00   $             21,800.00   $            -     $             21,800.00
C2017a       Decorative Stairs and Railings                                                                                        -                  -                                     -        750,000.00   $          750,000.00     $            -     $           750,000.00
C3017a       Tiling (Ceramic, Stone, etc)-Install, Partial Furnish            Supreme Flooring-Stone, Tile F&I           3,050,000.00           3,000.00                            3,000.00                      $        3,053,000.00     $     354,747.95   $          2,698,252.05




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                                                                                                                135 West 52nd Street Owner LLC
                                                                                                                          Building Loan
                                                                                                                         Requisition # 16
                                                                                                                            7/31/2014

     A                                                B                                              C                              D                      E                        F                     G                                             H
COST CODES                              DESCRIPTION OF WORK                                       Company                        Original               Previous                 Current                Total              Amount to Buy-            Revised
                                                                                                                                 Contract              Cululative                Change               Cumulative           Pending Change            Contract
                                                                                                                                  Buyout                Change                  this Period            Change                  Orders                Amount
                                                                                                                                                                                                          4                                       (Forecast Cost)           Paid                      Balance
                                                                                                                                    1                      2                        3                   (2+3)                    5                  6 (1+4+5)                7                        8 (6-5)
C3017b       Tiling (Ceramic, Stone, etc.) Furnish, except Lobby                               Nemo Tile Co                       1,767,912.00              13,442.00                                     13,442.00                           $        1,781,354.00     $     924,279.76      $           857,074.24
C3017c       Tiling (Ceramic, Stone, etc.) Furnish Lobby only w/ Feature wall                                                                                                                                      -            500,000.00    $          500,000.00     $              -      $           500,000.00
C3017d       Tiling (Ceramic, Stone, etc.) Furnish Sales Office only                                                                        -                       -                                              -                   -      $                     -   $              -      $                   -
C2017E       Tiling (Ceramic, Stone, etc.) master Bath Sinks                                                                                                                                                       -             50,000.00    $             50,000.00   $              -      $             50,000.00
C3019a       Acoustical Ceilings                                                                                                            -                       -                                              -              4,000.00    $              4,000.00   $              -      $              4,000.00
C3022a       Self Leveling Concrete                                                                                                         -                       -                                              -                          $                     -   $              -      $                   -
C3023a       Flooring Treatment (Scarifying)                                             All Stone Restoration, LLC                 280,000.00                      -                                              -                          $          280,000.00     $     232,092.00      $             47,908.00
C3025a       Specialty Flooring                                                                                                             -                       -                                              -             25,000.00    $             25,000.00   $              -      $             25,000.00
C3029a       Wood Flooring                                                                   A&E Surfaces, Co                     1,700,000.00                                                                     -                          $        1,700,000.00     $     102,779.10      $          1,597,220.90
C3031a       Resilient Flooring and Carpeting                                                                                               -                       -                                              -             36,161.00    $             36,161.00   $              -      $             36,161.00
C3041a       Interior Painting, Staining, and Coatings (Sales Office)                           Zenco Group                             7,000.00               2,500.00                                    2,500.00                           $              9,500.00   $              -                    $9,500.00
C3041b       Interior Painting, Staining, and Coatings                                                                                                                                                             -          1,526,295.00    $        1,526,295.00     $              -      $          1,526,295.00
D1011a       Elevators                                                                      Schindler Elevators                   1,990,000.00             557,500.00                                    557,500.00                           $        2,547,500.00     $     331,444.14      $          2,216,055.86
D1025a       Powered Scaffolding (Window Washing)                                       Tractel Swingstage Division                 270,000.00                      -                                              -                          $          270,000.00     $              -      $           270,000.00
D1029a       Trash Chutes                                                                        US Chutes                           54,000.00                      -                                              -                          $             54,000.00   $              -      $             54,000.00
D2010a       Plumbing Fixtures                                                            A & R Kitchen & Bath Inc.               1,195,000.00             118,660.00                                    118,660.00                           $        1,313,660.00     $     305,024.10      $          1,008,635.90
D2010b       Plumbing Fixtures-Sales Office Sink                                            Signature Plumbing                          2,502.00                                                                   -                          $              2,502.00   $          2,501.95   $                  0.05
D2011a       Plumbing                                                                          S&J Industrial                     4,150,000.00              47,274.00                                     47,274.00              (7,200.00) $          4,190,074.00     $     794,448.00      $          3,395,626.00
D2011b       BLR3-3D Modeling                                                                                                        24,000.00                                                                     -            (24,000.00) $                       -   $              -      $                   -
D3011a       HVAC                                                                                  Demar                          7,700,000.00             130,000.00                                    130,000.00              (6,000.00) $          7,824,000.00     $    1,083,186.00     $          6,740,814.00
D4011a       Fire Protection                                                           Capitol Fire Sprinkler Company             1,226,000.00              80,000.00                                     80,000.00              (2,400.00) $          1,303,600.00     $     220,095.00      $          1,083,505.00
D5011a       Electrical Services & Distribution                                                Recon Electric                     3,750,000.00             159,446.00                                    159,446.00              50,000.00    $        3,959,446.00     $     900,174.60      $          3,059,271.40
D5022a       Lighting Equipment-Main Building                                                 Chelesa Lighting                      825,000.00             193,253.00                                    193,253.00              52,000.00    $        1,070,253.00     $              -      $          1,070,253.00
D5022b       Lighting Equipment-Lobby Chandelier & MB Pendant                                                                                                                                                      -            500,000.00    $          500,000.00                           $           500,000.00
D5022c       Lighting Equipment-Lighting Controls                                                                                                                                                                  -            100,000.00    $          100,000.00                           $           100,000.00
D5022d       Lighting Equipment-Sales Office                                                Expressive Lighting                     110,000.00                 6,190.00                                    6,190.00                           $          116,190.00     $      66,070.79      $             50,119.21
D5030a       Telecommunications Systems                                         CEM (Communication Engineering Management)        1,100,000.00                      -                                              -                          $        1,100,000.00     $      42,773.02      $          1,057,226.98
D5038a       Security & Detection Systems                                                                                                   -                                                                      -                          $                     -                         $                   -
E1030a       Vehicle and predestrian Equipment                                                                                                                                                                     -             10,000.00    $             10,000.00                         $             10,000.00
E1091a       Residential Appliances                                                            P.C. Richards                      2,086,500.00                      -                                              -                          $        2,086,500.00     $              -      $          2,086,500.00
E1091b       Residential Appliances-Penthouse Wet bars & BBQ, Cellar, 7th                                                                                                                                          -             45,000.00    $             45,000.00                         $             45,000.00
E2017        Furniture, Furnishings and Accessories, Rugs (By Owner)                                                                        -                       -                                              -                          $                     -                         $                   -
F1001a       Swimming Pools and Tubs                                                     Norberto Construction Inc                          -                       -                                              -            450,000.00    $          450,000.00     $              -      $           450,000.00
F1017a       Special Activity Rooms (Saunas, Steam, Athletic)                                                                               -                       -                                              -          1,450,000.00    $        1,450,000.00                           $          1,450,000.00
F2010a       Building Elements Demolition                                                    GMC Contracting                      1,050,000.00           1,760,050.00                                  1,760,050.00                           $        2,810,050.00     $    2,242,359.90     $           567,690.10
G2010a       Roadways                                                                                                                       -                       -                                              -            121,600.00    $          121,600.00                           $           121,600.00
G2050a       Landscaping                                                                                                                    -                       -                                              -            375,000.00    $          375,000.00                           $           375,000.00
J1010a       Hoisting and Roof Protection                                                     S&E Scaffolding                       790,000.00           1,019,648.00                                  1,019,648.00             380,000.00    $        2,189,648.00     $     762,392.70      $          1,427,255.30
J1020a       Temporary Protection (incl. in J1010A)                                                                                         -                       -                                              -                          $                     -                         $                   -
J3010a       Trmporary Power and Temporary Service (inv in D5011a)                                                                          -                       -                                              -                          $                     -                         $                   -
J3020a       Temporary Plumbing (Incl. in D2011a)                                                                                           -                       -                                              -                          $                     -                         $                   -
J9010a       NLS Misc. Non-General Conditions Cost                                                                                                                                                                 -              3,800.00    $              3,800.00                         $              3,800.00
             Office Fit out                                                                                                                                             0                                          -                          $                   -
             SUB-TRADES TOTAL                                                                                                $   57,764,039.00     $    10,408,642.00       $                 -   $    10,408,642.00   $      10,859,676.00   $       79,032,357.00     $   18,520,790.91     $        60,511,566.09

                Contingency                                                                                                       2,578,807.00                                                                                  121,193.00    $        2,700,000.00     $             -       $          2,700,000.00
                General Conditions                                                                                                3,809,001.00                                                                                2,467,813.00    $        6,276,814.00     $    1,470,163.27     $          4,806,650.73
                Insurance (to be provided ny Owner)                                                                                        -                                                                                                  $                 -                             $                   -
                Fee                                                                                                               2,000,000.00                                                                                                $        2,000,000.00     $     651,850.57      $          1,348,149.43
                Sub total                                                                                                         8,387,808.00                      -                         -                    -           2,589,006.00           10,976,814.00          2,122,013.84                8,854,800.16




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                                                                                              135 West 52nd Street Owner LLC
                                                                                                       Building Loan
                                                                                                      Requisition # 16
                                                                                                         7/31/2014

    A                                        B                                         C                        D                E                F                 G                                         H
COST CODES                        DESCRIPTION OF WORK                               Company                  Original         Previous         Current            Total          Amount to Buy-            Revised
                                                                                                             Contract        Cululative        Change           Cumulative       Pending Change            Contract
                                                                                                              Buyout          Change          this Period        Change              Orders                Amount
                                                                                                                                                                    4                                   (Forecast Cost)         Paid                    Balance
                                                                                                                1                2                3               (2+3)                5                  6 (1+4+5)               7                     8 (6-5)
                           Sub Total-Trades, Contingency,General Conditions, Fee                             66,151,847.00    10,408,642.00                 -   10,408,642.00      13,448,682.00    $       90,009,171.00   $   20,642,804.75   $        69,366,366.25



             Owner General Conditions                                                                         1,094,798.00                                                -                         $        1,094,798.00   $     991,114.21    $           103,683.79



                                                                    Grand Total                              67,246,645.00    10,408,642.00                 -    10,408,642.00      13,448,682.00           91,103,969.00       21,633,918.96            69,470,050.04




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                             EXHIBIT B

                       PROJECT LOAN BUDGET



                             [See attached.]
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135 West 52nd St
Soft Cost Budget
                                                                                                                           Prior to Rec #15
                   Company                        Description                                Total     Spent to-date     Cost-to-Complete
                   Frank Seta                     Window Wall Roofing Consultant           135,000            121,246                 13,754   Soft Costs Spent       3,872,580
                   Shen Milson Wilke              Acoustical Consultant                     26,000             23,196                  2,804   Soft Costs Remaining   2,021,650
                   Jenkins Huntington             Elevator Consultant                       48,000             37,000                 11,000   Total                  5,740,860
                   20/20 Inspections              Special Inspections                       17,000             17,000                    -
                   OneLux                         Lighting Consultant                       26,000             18,700                  7,300
                   MPFP                           Landscape Consultant                     100,000             33,876                 66,124
                   Cosentini                      MEP Consultant                           365,000            334,837                 30,163
                   Cantor Seinuk                  Structural Engineer                      220,000            210,275                  9,725
                   Joel Trace                     Pool Consultant                           46,500             41,043                  5,457
                   Deployed Technology            Low Voltage Consultant                    55,000             45,650                  9,350
                   JM Zoning                      Expeditor                                 57,000             86,056                    -
                   Domani                         Special Inspections                       91,460             30,085                 61,375
                   Fire and Building Code         Fire & Building Code Consultant           84,900                -                   84,900
                   Entek                          Window Washing Consultant                 37,500             34,000                  3,500
                   Cetra Ruddy                    Archetict Designer                     1,773,500         1,354,749                 418,751
                   Seiden and Schein              Lawyer                                    40,000             10,065                 29,935
                   Rosen Livingston               Lawyer                                    53,500             28,000                 25,500
                   Kramer, Levin and Naftalis     Lawyer                                   200,000             81,167                118,833
                   Williams NY                    Branding/ Marketing                      460,000            439,500                 20,500
                   M18                            Publicist                                 36,000             51,021                    -
                   Printing Costs                 Printing Costs                           400,000            101,784                298,216
                   Marketing Costs                Marketing Costs                          400,000              4,500                395,500
                   Online Marketing Group         SEO                                       79,500                -                   79,500
                   Sales Office                   Sales Office                             600,000            513,465                 86,535
                   WSP Sells                      Surveyor                                 134,000            134,436                    -
                   Thierry Dryefus                Lighting Artist                           70,000             62,000                  8,000
                   Bug Doctor                     Exterminator                              40,000              5,073                 34,927
                   TEI/Schindler                  Elevator Maintenance                      45,000             53,857                    -
                   Bank Consultant                Bank Construction Consultant             100,000                -                  100,000
                   Contingency                                                                                                       100,000
                   Taxes                                                                                                             945,000
                   Insurance                                                                                                             -
                   Debt Service                                                                                                    9,475,000
                   Grand Total                                                         $5,740,860           $3,872,580            12,441,650
                   Subtotal excl. taxes, insurance, debt service                                                                   2,021,650




                                                                                    For internal use only
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                             EXHIBIT C

                           BUSINESS PLAN



                             [See attached.]
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                                                 EXHIBIT [ ]

                                        INITIAL BUSINESS PLAN

“Initial Business Plan” means the following business plan for the Property, which the Borrower will adopt:

    (i)      Sponsor purchased the Property in 2013 with the intention of converting the building into luxury
             residential condominiums and commenced construction in 2013. Currently, the Property is as-of-
             right and fully entitled, having received all necessary approvals to convert the building.
    (ii)     Existing building will be gutted and converted into 109 residential units totaling 174,737 net
             sellable square feet. The Property will have a total of 232,769 of net sellable/rentable square feet,
             including approximately 53,000 net rentable square feet of office space and 5,032 net rentable
             square feet of retail space.
    (iii)    Key parties involved in this development project are:
             a. Sponsor / Guarantor – Meyer Chetrit and David Bistricer
             b. Architect – CetraRuddy
             c. General Contractor – New Line Structures
             d. Residential Sales Team – Douglas Elliman
             e. Commercial Sales Team – Possibly NGKF
             f. Retail Sales Team – No sales team working with restaurant directly
    (iv)     Construction started on October 31st, 2013 with a 24 month construction schedule to
             substantial construction completion.
    (v)      Offering Plan was approved on June 27th, 2014 and the Sales Center opened on the ground level
             on July 29th, 2014.
    (vi)     Douglas Elliman projects that 135 W 52nd Street will be able to achieve premium pricing due to
             the significant demand for quality residences in midtown, New York. The Sales Center on the
             ground level includes a model unit and a display of the Project. Pre-sales have begun as of July,
             2014.
    (vii)    The Borrower has committed to the following milestones:
             a. substantial completion of the façade and enclosures as necessary to make the Project
                  Improvements watertight by May 1, 2015
             b. subject only to delays for Force Majeure, Substantial Completion shall occur no later than
                  October 31, 2015 (the “Substantial Completion Date”)
             c. subject only to delays for Force Majeure, Final Completion shall occur no later than April
                  30, 2016 (the “Final Completion Date”)
             d. the Declaration of Condominium has been approved by all applicable Governmental
                  Authorities and submitted for recording with the New York City Register no later than April
                  15, 2015 (provided that Borrower shall not be deemed to have failed to satisfy the
                  Milestones set forth in the foregoing clause (iv) so long as Borrower is diligently pursuing in
                  good faith the completion of such Milestone)
    (viii)   Mandatory amortization payment of at least $5 million by June 1, 2015




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                             EXHIBIT D

                          PROJECT BUDGET



                             [See attached.]
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Flatotel Project Budget
                                           Senior Loan    Building Loan    Project Loan          Total
DB Loan                                     146,588,300       69,470,050      12,441,650   228,500,000

Uses
Existing Loan Payoff
Net AIG Payoff                               82,474,365                -               -    82,474,365
Mezz Loan Payoff                             63,766,799                -               -    63,766,799
Existing Loan Payoff                        146,241,164                -               -   146,241,164

Closing Costs
Origination fee                               1,713,750                -               -     1,713,750
MRT                                           3,178,000                -               -     3,178,000
Title Fees                                      554,059                -               -       554,059
Meridian (Broker Fee)                           550,000                -               -       550,000
Gibson Dunn (Lender's Legal Fees)               195,000                -               -       195,000
Stub DB Interest                                192,397                -               -       192,397
DBTCA                                            14,000                -               -        14,000
Hanover (First Month Servicing Fees)              6,250                -               -         6,250
Hanover (Technical Due Diligence Review)            500                -               -           500
Graff (Borrower's Legal Fees)                   100,000                -               -       100,000
Rockpoint (Existing Mezz Legal Fees)             27,032                -               -        27,032
Rockpoint (Compass Fees)                          5,670                -               -         5,670
Rockpoint (Compass Fees)                         10,379                -               -        10,379
Miller Cicero (Appraisal)                        16,000                -               -        16,000
Starr Associates (Condo Counsel)                 20,250                -               -        20,250
Herrick (Zoning Counsel)                          8,185                -               -         8,185
IVI (Phase I)                                     2,200                -               -         2,200
Willis (Insurance)                                5,500                -               -         5,500
Chatham Financial (Cap Broker)                    8,630                -               -         8,630
Insurance Premium                                83,889                -               -        83,889
SMBC (Interest Rate Cap)                         86,300                -               -        86,300
Richard Layton Finger                             9,500                -               -         9,500
UCC Cancellation                                    916                -               -           916
IVI (Construction Report)                         9,900                -               -         9,900
Closing Costs                                 6,798,306                -               -     6,798,306

Hard Costs                                            -       69,470,050               -    69,470,050
Soft Costs                                            -                -       2,021,650     2,021,650
Taxes                                                 -                -         945,000       945,000
Interest                                              -                -       9,475,000     9,475,000
Total                                       153,039,470       69,470,050      12,441,650   234,951,170

Borrower Diligence Deposit                      150,000                                        150,000
Cash Equity Required                          6,301,170                                      6,301,170
at Closing




                                                 For internal use only
